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              EXHIBIT 4
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA



IN RE: ROUNDUP PRODUCTS                 MDL No. 2741
LIABILITY LITIGATION                    Case No. 16-md-02741-VC


This document relates to:
ALL ACTIONS




                EXPERT REPORT OF ALFRED I. NEUGUT, MD, PHD

                       IN SUPPORT OF GENERAL CAUSATION
                            ON BEHALF OF PLAINTIFFS
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Expert Report on Glyphosate and Non-Hodgkin Lymphoma

Alfred I. Neugut, MD, PhD


I.     Qualifications

       I am currently the Myron M. Studner Professor of Cancer Research and Professor of
Medicine and Epidemiology at Columbia University, and Associate Director for Population
Sciences for the Herbert Irving Comprehensive Cancer Center at Columbia. I am also the
Director of Junior Faculty Development for the Department of Epidemiology at the Mailman
School of Public Health, overseeing about 30 assistant professors.
        I am a medical oncologist with a particular interest in gastrointestinal tract cancers,
especially colorectal and gastric cancers. Under the auspices of Columbia's Medical Scientist
Training Program, I received my MD and a Ph.D. in Pathobiology in 1977. My PhD was in the
laboratory of Dr. I. Bernard Weinstein, an authority in chemical carcinogenesis, and I studied
growth control of cancer cells in vitro. I then trained in Internal Medicine at the Albert Einstein
College of Medicine and fellowship in Medical Oncology at Memorial Sloan-Kettering Cancer
Center.
        I returned to Columbia for an M.P.H. in Epidemiology in 1983, and then joined the
faculty at Columbia with appointments in Medicine and Epidemiology. My research has centered
on cancer epidemiology and prevention. I initiated a series of important studies focused on risk
factors for the occurrence and recurrence of colorectal adenomatous polyps (adenomas). These
studies extended into the use and yield of colonoscopy and fecal occult blood testing for routine
screening and diagnosis. An editorial I wrote in 1988 was the first to suggest the use of
colonoscopy for routine screening of asymptomatic adults, a common practice now. My second
major research focus was the occurrence of second malignancies, especially the impact of
radiation therapy. I was also the co-PI of the Long Island Breast Cancer Study Project which
investigated the high rate of breast cancer on Long Island and generated over 100 papers on
environmental risk factors and breast cancer.
       At the present time, a significant amount of my research is centered on studying quality
of care in the use of chemotherapy and radiotherapy for cancer in the elderly and others. My
group has found significant effects of age, race/ethnicity, as well as financial status and the level
of co-payments in leading to lower quality care and decreased adherence to prescribed
chemotherapy and hormonal therapy. I currently also have several projects ongoing in South
Africa on the effect of HIV infection on cancer outcomes.
        I have published over 500 peer reviewed chapters and papers. I have received over $50
million in funding from the National Cancer Institute, American Cancer Society, Department of
Defense, and various foundations. I have led two NCI-funded training grants for predoctoral and
postdoctoral trainees for over 25 years that have trained over 80 trainees who are now in various
academic, government and industrial positions; I have also mentored over 15 K or K equivalent
junior faculty award recipients. I am a recent recipient of the Distinguished Achievement Award
of the American Society of Preventive Oncology. I have served on innumerable government
grant review committees. My Curriculum Vitae is attached as Attachment A.


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       I have been asked to review the scientific literature on glyphosate and glyphosate-based
formulations and to provide an opinion to a reasonable degree of medical and scientific certainty
as to whether glyphosate and glyphosate-based formulations can cause non-Hodgkin lymphoma.
        This review took as its takeoff the IARC report of 2015, and reviewed the studies and
materials cited in that report. Further literature searches were conducted following up references
in the key publications cited in the IARC report and a search conducted for any publications
published subsequent to the IARC report. See References Section. We also reviewed the EPA
(2016) report, the European Food Safety Authority (2015) report and the commentary by Portier
(2015). In addition, I reviewed the transcripts of deposition of Aaron Blair of NIEHS, Donna
Farmer of Monsanto and John Acquavella of Monsanto. With the exception of the deposition
transcripts this would be the general approach utilized if one were doing a literature review for a
scientific publication. More details are given in the text.
        My assistant, Ayana K. April Sanders, MPH, a doctoral student in the Department of
Epidemiology at Columbia University’s Mailman School of Public Health, assisted with the
tasks described above, compilation of the tables, and some of the writing. I reviewed all of the
studies, and all opinions, analyses and conclusions are mine and mine alone.

II.    Cancer Epidemiology

        Epidemiology is the study of disease in populations, including its distribution,
determinants, natural history, and survival. Rather than the individual patient, its perspective is
that of public health. The traditional focus and goal of cancer epidemiology has been the
determination of the incidence and mortality rates of cancer in different populations and
subgroups, as well as the identification of risk factors for the purpose of disease prevention and
control through primary prevention and screening interventions.

       Much of epidemiology involves the assessment of cancer risk. A person can be at
increased risk of cancer because of extrinsic or intrinsic factors, or a mix thereof.
       ■       Extrinsic influences are factors outside of the individual’s own body, such as
environmental pollutants, cultural/lifestyle habits, medication use, infectious factors, and diet.
       ■       Intrinsic influences are factors unique to each person, such as genetics.

       From an epidemiologic perspective, an etiologic agent or risk factor is anything that
increases the probability that an individual will develop the disease. These risk factors can
include demographic characteristics (e.g., increasing age or race/ethnicity) or lifestyle and
behavioral factors, such as smoking. They also include endogenous factors, such as genetic
mutations that have been identified as predisposing a person for a disease, such as a deleterious
BRCA1 or BRCA2 mutation. Most cancers undoubtedly arise from a combination of genetic and
exogenous factors that interact to define certain demographic patterns.

III.   Cancer characteristics

       My report focuses on characteristics which are specific or idiosyncratic or more relevant
to cancer as opposed to other areas of epidemiology (infectious disease, cardiovascular,
psychiatric, etc).

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   a. Epidemiologists start with a definition of cancer which is a synonym for those
      diseases which involve malignancy (in contrast to being benign). While there may
      be various characteristics or ways in which to define this phenomenon, a good
      general definition would be that it is a disease in which the cell loses control of
      growth and proliferation. Benign cells or growths will stop growing when they
      reach some boundaries or limits, but malignant cells know no such limits and, in
      theory, will divide and proliferate forever. In many or most circumstances this is
      also associated with more rapid growth than in a normal cell, but this is not
      necessary – the defining characteristic is loss of growth control.

   b. As a corollary to the above, cancers are all generally potentially fatal. This is
      because if you allow uncontrolled growth of a tumor (a growth) to proceed for an
      unlimited amount of time, it will ultimately reach a size where it will kill the host
      in some fashion, either because the size of the tumor (or tumors) will compete
      with the normal cells of the body for nutrition and oxygen, and malignant cells are
      always better than normal cells at this so the normal cells and tissues will starve to
      death (a phenomenon known as cachexia in terminal cancer patients). An
      alternative way in which people die from cancer is that the tumors block vital
      organs or passageways or replace normal functioning organs so one dies from
      organ failure. The tumor may be so slow growing that you would not die from it
      till you are very elderly and you may die from a different disease beforehand, but
      the point is that all malignant cancers, by definition are potentially fatal.

   c. Cancer is a disease of the cell, i.e., in general, the pathophysiologic problem arises
      within the cell of origin as opposed to being a disease of an organ or system. All
      other diseases are pathologically problems of deterioration or inflammation or
      infection or some other disorder arising in the organ or in a system – the pancreas,
      the lung, the heart, the cardiovascular system, the immune system, etc. A cancer
      may arise in the context of an organ problem, e.g., liver cancer arising in the
      context of liver cirrhosis, but the cancer itself is a disorder of the liver cell.

   d. Cancer cells are basically aberrant normal cells. That is, a cancer cell can retain
      initially many of the characteristics of the cell of origin. As it gets more
      aggressive or more advanced, it becomes less and less like the original normal
      cell.

   e. From a public health and population perspective, individual cancers are
      uncommon, even rare. The four most common cancers in the US – breast,
      prostate, colorectal, lung - all occur at an age and sex-adjusted rate of about one
      case per 1000 population/year. From an epidemiologic perspective, this makes the
      use of cohort studies or intervention trials extremely difficult and expensive and
      indeed, such studies are uncommon. As described below, to get sufficient
      endpoints in such a study even with one of these “more common” cancers, one
      would need to follow tens of thousands of people for years. For other cancers,
      which are much less common, the use of cohort studies or intervention trials are

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            extremely uncommon and difficult to undertake and difficult to interpret unless
            risk ratios are very strong.

         f. The latency period for a cancer can be very long, often on the order of decades.
            This exacerbates the problem of the use of cohort and intervention trials as
            described in the prior paragraph. There are, however, both tumor initiators and
            tumor promoters, the latter of which are short term carcinogens which can raise
            the risk of a cancer within very short time frames, even within a year or two. This
            is particularly true when looking at the hematopoietic malignancies.

         g. More so than for most diseases, the diagnosis for malignant diseases is pathology-
            dependent, and hence highly accurate. Indeed, because it depends on histology
            and pathology, the subclassification of most tumors is also highly accurate. Thus
            to the degree that an epidemiologic study is trying to ascertain the association
            between a given exposure and a given disease, the width of the 95% confidence
            interval (i.e., the uncertainty with which one measures the association between the
            two variables) is increased by the uncertainty by which one estimates the presence
            of the exposure and the uncertainty by which one ascertains the presence of the
            disease. At least for studies of cancer, in most studies, more so than for most
            diseases, the definition and ascertainment of the disease is highly valid.

         h. There are two major histologic types of cells or tissues – epithelial tissue and
            connective tissue. Malignancies of epithelial tissue are referred to as carcinomas,
            while malignancies of connective tissue are referred to as sarcomas. Both blood
            and lymphocytes fall under the rubric of connective tissue and hence
            malignancies of blood (leukemias) and malignancies of lymphocytes (either
            leukemias or lymphomas) are under the general category of sarcomas.


IV.   Lymphoma

         a. Lymphocytes are a type of white blood cell which constitute part of the immune
            system. There are two major types of lymphocytes. B cells are cells which
            respond to antigens and ultimately mature into plasma cells which make
            antibodies, while T cells have other functions, such as being killer cells (directly
            attacking foreign invaders and toxins). Lymphocytes both circulate in the blood
            stream, where they constitute about 15-25% of circulating white blood cells, and
            are concentrated in lymph nodes along the lymphatic system. These are located in
            contiguity with every organ and act as drainage or sewage systems for each organ
            in terms of disposal of toxins or invading microorganisms and are often the first
            sites of local metastasis.

         b. Lymphocytes can become malignant in different phases and ways. Lymphocytes
            that are circulating in the blood stream that become malignant form lymphocytic
            leukemias. Lymphocytes in lymph nodes that become malignant form
            lymphomas, either Hodgkin lymphoma or non-Hodgkin lymphoma (NHL).

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               Plasma cells that become malignant (and emit antibodies) constitute the malignant
               cell of multiple myeloma.

           c. The large majority of NHL arise from B cells as opposed to T cells but there are
              multiple varieties of NHL based on histology, precise cell of origin, genetic
              mutations                or                 oncogenes                   present.


V.     Basics of Causation in Epidemiology

        Epidemiologic studies use a multi-step process to establish causal inferences. First,
principles of causal inference are used to construct our theories, which then help us to formulate
testable hypotheses. We then design studies to test causal hypotheses as rigorously as possible.
The objective of an epidemiologic study is to obtain a valid and precise estimate of the frequency
of a disease or of the effect of an exposure on the occurrence of a disease in the source
population of the study (Rothman, 2008). Epidemiologic studies ask ‘is there a statistical
association between the exposure and outcome?’

        In analytic epidemiology, observational studies are carried out to ascertain whether
associations exist between an exposure and an outcome. Although a statistical association may
exist between the two, there is always concern that this may reflect bias in the way the study was
conducted or the presence of confounding factors. Confounding factors are factors associated
with both the exposure and the outcome and can lead to an observed association, which is not
truly a relationship between the two. For example, a study may show that asbestos workers have
an elevated risk of lung cancer compared with the general population. However, one must be
concerned that asbestos workers may be heavier smokers than other individuals in the general
population and cigarette smoking is associated with lung cancer risk; thus, smoking may
confound the observed association. Therefore, it is important in a study that looks at this
exposure and outcome to collect smoking information so that it can be statistically controlled and
the individual effect of asbestos exposure can be appropriately measured.


        Multicausality (aka multifactorial): Certainly it is well known and well accepted that
virtually every disease or condition can and does have multiple causes and its etiology can be
spoken of as a multicausal phenomenon. Some of these causes are obvious and can be thought of
as almost trivial (though they are not really trivial) such as age or gender. For example, virtually
all epithelial malignancies (known as carcinomas) occur in adults and are usually age-dependent.
Thus age is a risk factor for most carcinomas. Being a female is a risk factor or cause for female
specific cancers, like ovarian cancer, which sounds trivial, but it is also a major risk factor for
breast cancer, which can occur in males.

       What is important to appreciate about the multicausal nature of disease is that all the
causes contribute to the probability or risk of the disease occurring and thus any or all can be
important in a given individual in whom they are present. Thus if one has a 60 year old obese
male who is hypertensive, has a chronic elevated cholesterol, smokes cigarettes, is sedentary, and
has a family history of coronary heart disease, and he develops a myocardial infarction (heart

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attack), one may ask: What caused his heart attack? The correct answer is that all of these factors
did and theoretically, if one removed any one of them from his past history, he might not have
developed the disease. This is not to say, they were all equally contributory – how much they
each contributed may vary and would be a function of the risk ratio associated with that
particular exposure.

        A common example of where this multicausal phenomenon occurs is in situations that
address the question of whether asbestos exposure causes lung cancer. Many people with
significant asbestos exposure in asbestos mines or other occupational settings have also been
cigarette smokers, obviously a well-known lung carcinogen, and the argument has been made
that the tobacco was responsible for the cancer, not the asbestos exposure. The correct causal
analysis of this scenario would be that certainly the cigarette smoking contributed significantly to
the development of the lung cancer, but that the asbestos exposure contributed significantly as
well.


VI.    Types of Epidemiologic Studies

           a. Cohort and Case-control Studies

           Epidemiologic observational studies fall into two broad categories: cohort studies and
           case-control studies. Participants in cohort studies are categorized based on their
           exposure and then followed to determine whether the outcome develops differently in
           the exposed and unexposed groups. Case-control studies enroll participants who have
           the outcome or disease under study, in addition to a control group of healthy
           participants. Both groups are then assessed for exposure. Both types of studies have
           their advantages and disadvantages. In both types, one must try to avoid bias or
           directional error. For example, in a case-control study, a patient with cancer may be
           inclined to give a positive answer more frequently than a control participant to a
           question regarding smoking history—this is referred to as recall bias.

           As a general rule, cohort studies are preferred when the exposure is uncommon and
           the outcome is common, while case-control studies are preferable with uncommon
           outcomes. Since the incidence of most cancers, even the most common ones, is
           relatively low, case-control studies usually are used in cancer research. Their
           disadvantage is that they are often ambiguous on the temporal relationship between
           the exposure and the cancer. If you compare 100 patients with colon cancer to 100
           patients without colon cancer for their intake of saturated fat, it can be unclear
           whether a decreased intake in the cases is related to the disease or preceded the
           disease. In a cohort study, where the exposure is ascertained before the subjects have
           developed the cancer, one can be more confident that any observed association
           preceded the development of disease.

           Advantages to a Cohort Study

           ▪ Results can be used to calculate incidence

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   ▪   Results can be used to calculate prevalence
   ▪   Efficient for studying common diseases
   ▪   Can study multiple diseases/outcomes
   ▪   Ensures temporality
   ▪   Study time varying covariates
   ▪   Reduces some types of selection bias and recall bias

   Disadvantages to a Cohort Study

   ▪ Expensive
   ▪ Time consuming
   ▪ Cohort studies can be ineffective for studying rare diseases, particularly when
     follow up time is short.
   ▪ Requires prohibitively large sample size to detect occurrence of rare diseases
   ▪ Loss to follow-up is a types of selection bias
   ▪ Information bias is detection/observer bias (as opposed to recall bias)

   A case-control study is a design where two groups, known as cases and controls, are
   selected based on the presence and absence, respectively, of a disease/outcome of
   interest. The groups are then queried about various exposures that may have been a
   source of disease. Associations between exposures and outcomes are measured using
   odds ratios, which estimate the relative risk. There are several types of case-control
   studies that vary depending on whether the study is designed within a designated
   cohort or not within a designated cohort. Sampling must be independent of exposure
   otherwise selection bias can be a problem. As long as we sample independent of
   exposure for our classic case-control study, we should have a valid design to address
   our research question. Controls are selected as a representative sample of the
   population that gave rise to the cases

   Advantages of classic case-control studies

      Efficient for studying rare diseases (requires smaller sample than cohort study)
      Relatively fast
      Reduces the problem of follow-up bias
      Better able to deal with long latency periods
      Relatively inexpensive

   Disadvantages of classic case-control studies

          Cannot calculate prevalence
          Inefficient for rare exposures
          Can only study one outcome
          Increased susceptibility to bias

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              1. Sampling assumptions (selection bias)
                 - It is crucial to select cases and controls before gathering any
                 information about exposures
              2. Recall/information bias (potential error in recalling exposure
                 - Case-patients may recall events differently than control patients

   b. Meta-Analyses

   Meta-analysis is a method for summarizing epidemiologic and other scientific
   evidence. “Meta-analysis [that] refers to the analysis of analyses…the statistical
   analysis of a large collection of analysis results from individual studies for the
   purpose of integrating findings. It connotes a rigorous alternative to the causal,
   narrative discussion of research studies which typify our attempts to make sense of
   the rapidly expanding literature…” (Glass, 1976). A meta-analysis is a statistical
   analysis that combines the results of multiple scientific studies.

   The basic tenet behind meta-analyses is that there is a common truth behind all
   conceptually similar scientific studies, but which has been measured with a certain
   error within individual studies. The aim then is to use approaches from statistics to
   derive a pooled estimate closest to the unknown common truth based on how this
   error is perceived. In essence, all existing methods yield a weighted average from the
   results of the individual studies and what differs is the manner in which these weights
   are allocated and also the manner in which the uncertainty is computed around the
   point estimate thus generated. In addition to providing an estimate of the unknown
   common truth, meta-analysis has the capacity to contrast results from different studies
   and identify patterns among study results, sources of disagreement among those
   results, or other interesting relationships that may come to light in the context of
   multiple studies (Rothman, Greenland, & Lash, 2008).

   A key benefit of this approach is the aggregation of information leading to a higher
   statistical power and more robust point estimates than is possible from the measure
   derived from any individual study. However, in performing a meta-analysis, an
   investigator must make choices which can affect the results, including deciding how
   to search for studies, selecting studies based on a set of objective criteria, dealing with
   incomplete data, analyzing the data, and accounting for or choosing not to account for
   publication bias (Walker, Hernandez, & Kattan, 2008).

   Meta-analyses are often, but not always, important components of a systematic
   review procedure. For instance, a meta-analysis may be conducted on several clinical
   trials of a medical treatment, in an effort to obtain a better understanding of how well
   the treatment works. Here it is convenient to follow the terminology used by the
   Cochrane Collaboration (Van Tulder, Furlan, Bombardier, Bouter, & Group, 2003),
   and use "meta-analysis" to refer to statistical methods of combining evidence, leaving
   other aspects of 'research synthesis' or 'evidence synthesis', such as combining
   information from qualitative studies, for the more general context of systematic
   reviews.

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             We conduct meta-analyses to summarize published literature to create a more
             objective summary of literature than narrative reviews and produce a quantitative
             statistic demonstrating the estimate average effect of all of the available data. Meta-
             analyses also increase statistical power of the collection of studies, which results in a
             more precise estimate of effect size. Finally, conducting meta-analyses of
             observational studies can help to identify possible heterogeneity between studies.

             Steps in Conducting a Meta-Analysis
                 Identify objective and hypotheses
                 Define outcome, exposure, population
                 Formulate study inclusion criteria
                 Formulate search strategy
                 Extract data
                 Assess study quality
                 Estimate summary effect
                        Use published estimates 1 for each included study (RR-Risk
                          Ratio/Relative Risk, OR-Odds Ratio, HR-Hazard Ratio)
                        Convert results to a common scale, if needed (z-transformation
                          (standardization), log-transformation)
                        Combine estimates of effect using a weighted average of individual
                          estimates to estimate summary effect (Fixed or Random Effects)

                              Fixed effects assume that all studies are estimating the same
                              underlying effect size (i.e., true effect) and that the variability between
                              studies is due to sampling of people within each study. Random effects
                              allow the studies to have different underlying effect, which vary
                              around a mean over all studies and allows variation between studies as
                              well as within studies.

                              Selecting the correct statistical model (fixed or random effects) is
                              critically important in a meta-analysis. If one cannot assume that all
                              studies are sampled from the same population, then a random-effects
                              model should be implemented for the meta-analysis. In fact, the
                              random-effects model should be the logical starting point of a meta-
                              analysis with the assumption that the true effect size may or may not
                              vary from study to study and a fixed-effects model can follow as a
                              form                of               sensitivity              analysis.



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  Measures of relative effect express the outcome in one group relative to that in the other. For all measures of
relative effect, a value of 1 indicates that the estimated effects are the same for both comparative groups.
Risk ratio (aka relative risk; RR): the ratio of the risk of event in the two groups
Odds ratio (OR): the ratio of the odds of an event in two groups.
Hazard ratio (HR): the ratio of the hazard rates in the two groups.


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There are two types of ways to summarize scientific evidence: 1) systematic review – meta-
analysis of published data - and 2) pooled analysis – meta-analysis of individual level data.

       Comparison of Meta-analyses and Pooled Analyses: Data Management/Analysis

             Meta-Analyses                            Pooled Analyses
             Generally no contact with original       Investigators of each study agrees to
             study                                    participate
             Retrieve publication and extract data    Obtain primary data
             of interest                              -Outcomes
             -Study design                            -Exposures
             -Population                              -Confounders
             -Exposure, confounders
             -Risk estimates, confidence intervals
             Check data abstracted for errors         Check primary data for errors

             Differences in exposure, covariates,     Calculate risk estimates from primary
             and contrasts across studies             data
                                                      More standardized definitions for
                                                      exposures, covariates, and contrasts
                                                      across studies
                                                      Standardize formatting of data
                                Check whether results are heterogeneous
                                Check summary estimates, if appropriate
                                     Conduct sensitivity analyses



VII.    Review of Studies

        a.      Cohort Study (See Table 1)

        De Roos et al. (2005) evaluated the association between exposure to glyphosate and
        cancer incidence on the Agricultural Health Study (AHS) cohort (A. J. De Roos et al.,
        2005).

        Methods & Results
        Population Description: The AHS is a prospective cohort study in Iowa and North
        Carolina, which includes 57, 311 private and commercial applicators who were licensed
        to apply restricted-use pesticides at the time of enrollment into the study. Recruitment of
        the applicators occurred between 1993 and 1997. Members of the AHS cohort were
        matched to cancer registry files in Iowa and North Caroline for case identification and to
        state death registries and the National Death Index to ascertain vital statistics.



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 Outcome Assessment: Incident cancers were identified for the time period from the date
 of enrollment (1993-1997) until December 31, 2001 and were coded according to the
 International Classification of Disease, 9th Revision (ICD-9). Cohort members who
 moved from the state were censored in the year they left.

 The prevalence of ever-use of glyphosate was 75.5% (> 97% of users were men). In this
 analysis, exposure to glyphosate was defined as: (a) ever personally mixed or applied
 products containing glyphosate; (b) cumulative lifetime days of use, or “cumulative
 exposure days” (years of use × days/year, categorized in tertiles among users: 1-20, 21-
 56, 57-2,678)); and (c) intensity-weighted cumulative exposure days (years of use ×
 days/year × estimated intensity level, categorized in tertiles: 0.1-79.5, 79.6-337.1, 337.2-
 18, 241). Poisson regression was used to estimate exposure–response relations between
 exposure to glyphosate and incidence of all cancers combined, and incidence of 12 cancer
 types: lung, melanoma, multiple myeloma, and non-Hodgkin lymphoma as well as oral
 cavity, colon, rectum, pancreas, kidney, bladder, prostate, and leukemia (results not
 tabulated). Exposure to glyphosate was not associated with all cancers combined (RR,
 1.0; 95% CI, 0.9–1.2; 2088 cases). For non-Hodgkin lymphoma, the relative risk was 1.2
 (95% CI, 0.7–1.9; 92 cases) when adjusted for age, and was 1.1 (95% CI, 0.7–1.9) when
 adjusted for multiple confounders (age, smoking, other pesticides, alcohol consumption,
 family history of cancer, and education); in analyses by cumulative exposure-days and
 intensity-weighted exposure-days, the relative risks were less than 1.0 in the highest
 tertiles. In summary, there was no association between glyphosate exposure and all
 cancer incidence or most of the specific cancer subtypes that were evaluated, including
 NHL. The strength of this analysis was the use of a large cohort with specific assessment
 of glyphosate and semi-quantitative exposure assessment. The De Roos et al. (2005)
 report demonstrates several major limitations that hinder the inferences made by the
 report: (1) a short follow up period of the cohort that does not allow for a meaningful
 evaluation of cancer risk; (2) the inability to determine disease latency in relation to
 glyphosate exposure and the risk of NHL; (3) using a comparison groups that is at an
 elevated risk of NHL; and (4) a potential for differential exposure misclassification.

 (1) Short follow-up period: Participants who were licensed restricted use pesticide
 applicators were only enrolled in the study cohort from 1993-1997. Participants were
 followed to 2001, making the follow-up period for this data to range from 4-8 years. The
 report showed that the median follow-up period for this group was 6.7 years. Another
 important factor is that participants in the cohort were generally young with 46% being
 <50 years of age at the time of enrollment. These statistics suggest that the cohort may be
 too young to adequately evaluate cancer risk. Cancer epidemiology shows us that cancer
 incidence does not substantially increase until the ages of 50-55 years when we see an
 exponential increase in cancer incidence (Cancer Research UK, 2016). Thus, the study
 would have needed to follow this particular cohort for a much longer period of time in
 order to adequately evaluate cancer, and specifically NHL, risk from glyphosate
 exposure.

 (2) Inability to determine disease latency period for NHL in AHS cohort: To determine
 the latency period between exposure to glyphosate and the onset of detectable NHL, the

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 investigators would have had to not only collect information on exposure to glyphosate,
 but also the time period of the initial exposure. Determining the latency period of the
 outcome is important in recognizing whether there is a meaningful increased risk in
 disease in a population because we can use that knowledge to rule out other causes of the
 disease.

 (3) Elevated risk of NHL in control group: In comparison to the cases, it is expected that
 the control group used in the analysis for “ever/never” exposure to glyphosate would
 have an elevate risk for NHL. Evidence for this determination includes the following: A)
 Farmers who were licensed to use restricted-use pesticides comprise 91% of the controls
 in the De Roos et al., 2005 study. Several studies have demonstrated a significant
 increased risk of NHL in farmers (Morton et al., 2014; Orsi et al., 2009). B.) Factors
 considered a risk for increased likelihood of NHL in farmers was tested in the Hardell et
 al. (L. Hardell, Eriksson, & Nordstrom, 2002) study that ultimately found that the
 exposure to “all herbicides” is a risk factor for NHL, OR=1.75, 95% CI: 1.26-2.41.
 Theoretically, if farmers had not adopted glyphosate as an herbicide they were likely to
 use other herbicides and hence have an increased risk of NHL. C) Finally, and most
 specifically, the majority of the control group (53.3%) in De Roos et al. (2005) was
 exposed to 2,4-D, an herbicide with carcinogenic potential. The meta-analysis conducted
 by Schinasi and Leon (2014) indicated a NHL meta-risk of 1.40 (95% CI: 1.0-1.9) for
 2,4-D exposure. IARC recently classified 2, 4-D as possibly carcinogenic to humans
 (category 2b). Therefore, the effect estimate reported by De Roos et al. (2005) would be
 an underestimate of the NHL risk in the “ever/never” glyphosate exposure analysis.

 (4) Non-differential Exposure Misclassification

 Intensity of exposure to glyphosate was collected only at enrollment from 1993 – 1997.
 Yet, with the movement of agriculture to genetically engineered crops in 1996,
 participants already using glyphosate would have a dramatic increase in their intensity of
 exposure. By not collecting follow-up data on exposure status the analysis of exposure to
 glyphosate and association with NHL would be underestimated.

 b.     Case-control Studies (See Table 1)

 Cantor et al. (1992) conducted a case-control study of incident non-Hodgkin lymphoma
 (NHL) in 622 white men compared to 1245 population-based controls in Iowa and
 Minnesota (Cantor et al., 1992). The study measured the risk of NHL associated with
 farming occupation and specific agricultural exposures. Men who ever farmed had a
 relative increased risk of NHL than non-farmers (OR=1.2, 95% CI: 1.0-1.5) independent
 of crop or animal types. Men who ever handled glyphosate also showed a slight increased
 risk of NHL, but the association was not statistically significant (OR=1.1, 95% CI: 0.7-
 1.9) when adjusted for vital status, age, state, cigarette smoking status, family history of
 lymphohaemotapoietic cancer, high-risk occupations and high-risk exposures. A major
 strength of this analysis was that it used a large population-based sample in a farming
 community. However, the study had significant limitations. Specifically, there was low
 power to assess the risk of NHL with glyphosate with only 26 cases of NHL.

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 Interpretation of the results is also limited by lack of adjustment for other herbicides used
 by the cohort.

 McDuffie et al. (2001) conducted a multisite population-based incident case-control
 design conducted in six Canadian provinces (McDuffie et al., 2001). The study
 investigated the associations between exposure to specific herbicides and NHL. A total of
 517 male cases and 1506 controls were interviewed by phone. The risk of NHL was
 observed to be elevated but not statistically significant for men exposed to glyphosate [51
 exposed cases (OR=1.26, 95% CI:0.87-1.81; adjusted for age and province) and
 (OR=1.20, 95% CI: 0.83-1.74; adjusted for age, province, high-risk exposure)]. In a
 frequency analysis of exposure to glyphosate, men with > 2 days of exposure per year
 had an increased risk of NHL (OR=2.12, 95% CI: 1.20-3.73; 23 exposed cases; adjusted
 for age and province) compared to those with ≤ 2 days of exposure. Overall, this study is
 strengthened by using a large population-based sample, but there was a low response rate,
 albeit having a non-differential effect on the reported estimates when respondents were
 compared to non-respondents.

 Hardell et al. (2002) conducted a pooled analysis on two case-control studies in Sweden
 (Lennart Hardell, Eriksson, & Nordström, 2002), one of NHL (originally reported in (L.
 Hardell & Eriksson, 1999)) and another on hairy cell leukemia (HCL), a rare subtype of
 (originally reported in (Nordstrom, Hardell, Magnuson, Hagberg, & Rask-Andersen,
 1998)). The pooled analysis of NHL and HCL was based on 515 cases and 1141 controls.
 In univariate analysis, glyphosate increased the risk of NHL and HCL (OR=3.04; 95%
 CI: 1.08-8.52; 8 exposed cases). After accounting for study, study area and vital status in
 multivariate analysis, the odds of disease due to exposure to glyphosate decreased to 1.85
 (95% CI: 0.55-6.20). Although using the pooled analysis contributed to an overall
 stronger power for analysis, agent-specific exposures had minimal cases. The exposure
 frequency was low for glyphosate and limited the power to test the effect of the exposure.

 De Roos et al. (2003) used pooled data from three case-control studies on NHL
 conducted in the 1980s in Nebraska (Zahm et al., 1990), Kansas (Hoar et al., 1986), and
 Iowa and Minnesota (Cantor et al., 1992) to examine pesticide exposure in farming as a
 risk factor for NHL among men (A. De Roos et al., 2003). The pooled sample population
 included 870 cases and 2,569 controls – the majority of cases (n=650) and controls
 (n=1933) were included for the analysis of 47 pesticides controlling for potential
 confounding by other pesticides. Logistic regression and hierarchical regression models
 (which provides more conservative estimates compared to logistic regression due to
 adjusting estimates based on prior evidence, from past IARC or EPA reports, that any of
 the 47 pesticides may cause any type of cancer) were used in data analysis and all models
 were adjusted for age, study site, and other pesticides. Reported use of glyphosate, as
 well as several individual pesticides, was associated with increased incidence of NHL. In
 the logistic regression model based on 36 cases, the odds ratios for association between
 exposure to glyphosate and NHL were 2.1 (95% CI: 1.1-4.0) and 1.6 (95% CI: 0.9-2.8) in
 hierarchical regression models. The pooled population used in this analysis was a
 considerable strength compared to single-population empirical studies limited by small
 cases sizes. Additionally, the study was population based. De Roos et al (2003) did

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 include an advanced methodological technique (hierarchical regression) for accounting
 for multiple exposures by adjusting for estimates based on prior distributions for the
 pesticide effects. However, this hierarchical regression method has limited scientific
 merit since the adjustments are based on prior evidence of factors that may cause any
 cancer and not specifically NHL, and the opinions of carcinogenicity of each pesticide
 can change over time. Therefore, the modeling is subject to the opinions on
 carcinogenicity at the time of analysis (i.e., the opinions about the carcinogenic potential
 of glyphosate and other herbicides in the late 1980’s and early 1990’s) and the result
 would likely be different from current opinions. Thus, the conservative odds ratios of the
 hierarchical regression may not be an accurate portrayal of the association between
 glyphosate and NHL and would limit how to interpret the findings of the hierarchical
 regression.

 Lee et al. (2004) evaluated whether asthma acts as an effect modifier of the association
 between pesticide exposure and NHL (Lee, Cantor, Berzofsky, Zahm, & Blair, 2004).
 The study was conducted using a pooled analysis of population-based case-control
 studies in Iowa, Minnesota and Nebraska. The sample included both men and women;
 872 cases with NHL from 1980 to 1986 and 2,381 frequency-matched controls. In-person
 interviews were conducted to collect exposure information on pesticide use and history of
 asthma. A total of 177 subjects (45 cases, 132 controls) reported having been told by a
 clinician that they had asthma. Asthmatics had a non-significantly lower risk of NHL
 than non-asthmatics (OR=0.5, 95% CI; 0.2-1.4), and there was no main effect of pesticide
 exposure (OR=1.0, 95% CI: 0.8-1.2). Overall, those with a history of asthma typically
 had large odds ratios associated with exposure to pesticides than subjects without a
 history of asthma. Among non-asthmatics, the odds ratio associated with glyphosate use
 was 1.4 (95% CI: 0.98-2.1; 54 exposed cases) and 1.2 (95% CI: 0.4-3.3; 6 exposed cases)
 for asthmatics when compared to non-asthmatic non-exposed farmers. There was no
 indication of effect modification, such that the main effect does not vary based on asthma
 status.

 In a Swedish-based study, Eriksson et al (2008) reported the results of a population
 based case-control study of exposure to pesticides as a risk factor for non-Hodgkin
 lymphoma (Eriksson, Hardell, Carlberg, & Akerman, 2008). Men and women ages 18-74
 years were included during December 1, 1999 to April 30, 2002. Incident cases of NHL
 were recruited from the University Hospitals in Lund, Linköping, Örebro and Umeå and
 controls were age and sex matched from the national population registry. Exposure to
 different agents was assessed by questionnaire. In total, 910 (91%) cases and 1016 (92%)
 controls participated in the study. Latency period calculations and multivariable analyses
 included agents with statistically significant increased odds ratios (OR) or with an OR >
 1.5 and at least 10 exposed subjects. The odds of NHL for exposure to glyphosate was
 2.02 (95% CI: 1.10-3.71) in univariate analysis and 1.51 (95% CI: 0.77-2.94) in a
 multivariable analysis. When considering exposure for more than 10n days per year, the
 OR was 2.36 (95% CI: 1.04-5.37). With a latency period of > 10 years, the odds ratio for
 exposure to glyphosate was 2.26 (95% CI: 1.16-4.40). Exposure to glyphosate was
 associated with increased odds for lymphoma subtypes and elevated odds of B-cell
 lymphoma (OR=1.87, 95% CI: 0.998-3.51) and the subcategory of small lymphocytic

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 lymphoma/chronic lymphocytic leukemia (OR=3.35, 95% CI: 1.42-7.89). Strengths of
 this study include having a population-based case-control study investigation, the ability
 to study different NHL subtypes and high response rate of cases and controls.
 Additionally, Eriksson et al. (2008) is one of the only studies to demonstrate elevated risk
 for glyphosate exposure in relation to several categories of NHL and evaluate the rick of
 NHL related to latency period. Limitations to interpreting the results derive from self-
 reported exposure assessment and possible confounding from use of other pesticides
 including MCPA – another herbicide that is commonly used together with glyphosate –
 but these were controlled for in the analysis. More so, it is expected that any residual
 confounding would result in an underestimation of the effect of a single pesticide. Given
 that the results demonstrated increased risk suggests there being a causal relationship
 despite confounding.

 Orsi et al. (2009) reported the results of a hospital-based case-control study conducted in
 six clinics in France between 2000 and 2004 (Orsi et al., 2009). The study population
 included men and women aged 20-75 years and controls of the same age and sex as the
 cases were recruited in the same hospital – most were patients in the orthopedic and
 rheumatologically departments during the study period. In-person interviews and expert
 review of cases were used to evaluate pesticide exposure. The analysis included 491
 cases (95.7% response rate; 244 cases of NHL, 87 cases of Hodgkin lymphoma, 104
 cases of lymphoproliferative syndrome, and 56 cases of multiple myeloma) and 56 cases
 456 age- and sex-matched controls. The study had a good response rate for the
 participants, but it enrolled hospital-based rather than population-based cases and
 controls. This could induce selection bias depending on whether individuals with high
 exposure to herbicide/pesticides, like glyphosate, (i.e., farmers) were more or less likely
 be hospitalized than the average person in the population that gave rise to the cases. A
 key limitation is that there was a small sample of participants reporting exposure to
 glyphosate thus limiting the power of the analysis to test for a true effect of glyphosate on
 any of the outcomes.

 Cocco et al. (2013) reported on a pooled analysis of case-control studies conducted in six
 European countries between 1998-2004 (EPILYMPH, Czech Republic, France,
 Germany, Ireland, Italy, and Spain) investigating the role of occupational exposure to
 specific groups of chemicals in the etiology of lymphoma overall, B=cell lymphoma, and
 its most prevalent subtypes (Cocco et al., 2013). There was an approximately 1:1 ratio of
 cases (n=2,348) to controls (n=2.462) recruited by the six studies. Controls from
 Germany and Italy were randomly selected by sampling from the general population,
 whiles the other countries used matched hospital controls. Participation was adequate,
 88% of cases participated and 81% of hospital controls and 52% of population controls
 participated. In-person interviews were conducted to collect detailed information on
 occupational history on farm-specific work related to type of crop, farm size, pest being
 treated, type of schedule of pesticide use. Industrial hygienists and occupational experts
 at each study center was used to assess exposure to specific groups of pesticides and
 individual compounds with assistance from agronomists. This method was used to reduce
 differential misclassification of exposure. Regression models were adjusted for age, sex,
 education, and study center. Lymphoma overall, and B-cell lymphoma were not

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       associated with any class of the investigated pesticides, while the risk of chronic
       lymphocytic leukemia was elevated among those ever exposed to inorganic and organic
       pesticides. The odds ratio for exposure to glyphosate and B-cell lymphoma was 3.1 (95%
       CI: 0.6-17.1; 4 exposed cases and 2 exposed control). The study was significantly limited
       in its power to assess the effects of glyphosate on risk of NHL due to substantially small
       sample of exposed cases.

       c.     Meta-analyses

       In summary, the two published meta-analyses demonstrated statistically significant
       elevated risk of NHL in relation to glyphosate exposure. Estimates varied slightly based
       on the inclusion/exclusion of certain articles and the specific data points used in the meta-
       analyses.

       Schinasi & Leon (2014) conducted a systematic review and a series of meta-analyses of
       approximately three decades of epidemiologic research on the relationship between NHL
       and occupational exposure to agricultural pesticide active ingredients and chemical
       groups, including glyphosate (Schinasi & Leon, 2014). The meta-analysis included six
       studies (A. De Roos et al., 2003; Eriksson et al., 2008; L. Hardell et al., 2002; McDuffie
       et al., 2001; Orsi et al., 2009) and yielded a meta risk-ratio of 1.5 (95% CI: 1.1-2.0) (See
       Fig. 1). Of note, the meta risk-ratio did not use the most fully adjusted estimates were
       from Hardell et al. (2002) and Eriksson et al. (2008) studies. The IARC Working Group
       re-assessed the meta-analysis by including the more adjusted estimates and generated
       similar but slightly diminished estimate (meta-RR=1.3, 95% CI: 1.03-1.65), I2=0%, P for
       heterogeneity = 0.589].

       Chang and Delzell (2016) used the same six studies as Schinasi and Leon (2014) to
       conduct a systematic review and meta-analysis examining the relationship between
       glyphosate exposure and risk of lymphohematopeoietic cancer including NHL, Hodgkin
       lymphoma, multiple myeloma and leukemia (Chang & Delzell, 2016). The meta-analysis
       yielded a meta-risk ratio of 1.3 (95% CI: 1.0-1.6) based on the six studies (Chang and
       Delzell, 2016 Figure 1). The investigators also conducted a meta-analysis substituting the
       logistic regression results of the De Roos et al. (2003) study for the hierarchical
       regression results and used the update data from McDuffie et al. (2001) and yielded a
       meta-risk ratio of 1.4 (95% CI: 1.0-1.8) (See Fig. 2).

VIII. Toxicity Studies

       Animal Evidence (See Table 2)

        Several rodent studies were conducted (EPA, 1985a, 1985b, 1986, 1991a, as cited in
IARC Monograph 112) evaluating the effect of pure glyphosate exposure at varying
concentrations. A significant positive trend for renal tumors in male CD-1 mice (EPA, 1985a),
typically rare in mice, although there were no comparisons of any individual exposure group
were statistically significant. In the Joint FAO/WHO Meeting on Pesticide Residues (JMPR,
2006) where CD-1 male and female mice were given diets containing glyphosate (purity,

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98.6%), a significant positive trend for hemangiosarcoma in male CD-1 mice was reported.
Again no individual exposure group was found to be statistically significant different from the
control group. Finally, EPA’s (EPA, 1991a, 1991b, 1991c, 1991d) reports saw a significant
increase in the incidence of pancreatic islet cell adenomas in two studies in male Sprague-
Dawley male and female rats that were exposed to increasing concentrations of 96.5% purity
glyphosate diets. These reports also demonstrated increased thyroid gland adenoma in females
and liver adenoma in males.

        The IARC working group reached the conclusion of sufficient evidence of glyphosate
carcinogenicity in animals based on the significance of trend tests. The European Food and
Safety Authority (EFSA) concluded that based on lack of individual significant differences and
consistency between historical control ranges that there is no evidence of carcinogenicity of
glyphosate in animal studies. Guidelines for evaluating toxicity in animal studies and relevant
scientific reports and publications recommended that the key data points are the use of
concurrent controls and trend tests (OECD, 2012; European Chemicals Agency, 2015). Trend
tests are more powerful than pairwise comparisons, particularly for rare tumors where data are
sparse. Likewise, historical control data should be garnered from the studies in the same time
frame, animal strain and preferably the same laboratory and reviewed by the same pathologist.

              Carcinogenic Mechanisms in Humans (See Tables 3a & 3b)

       The genotoxic potential for glyphosate has been studied in a variety of assays including
human, non-human mammal and non-mammalian systems. In the following, we summarize the
findings of studies carried out in exposed humans and in human cells in vitro (as cited in IARC
Monograph 112).

       Studies in exposed humans (see Table 3a)

        Available publications assessing the effect of a glyphosate-based formulation have
focused on communities where the agent was aerially-sprayed in areas of northern Ecuador (Paz-
y-Miño et al., 2007)) and five regions in Colombia (C Bolognesi, Carrasquilla, Volpi, Solomon,
& Marshall, 2009). In 24 exposed individuals in Ecuador, a statistically significant increase in
DNA damage (DNA strand breaks) were observed in blood cells collected 2 weeks to 2 months
after glyphosate was spayed in the area. Paz-y-Miño et al. (2011) studies continued by evaluating
blood cells from 92 residents in 10 communities of northern Ecuador, sampled 2 years after the
aerial spraying with an herbicide mix containing glyphosate (Paz-y-Miño et al., 2011). The
results assessing chromosomal damage showed that the subject’s karyotypes were similar to
levels reported in the control group. In Colombia, 137 married couples (137 women of
reproductive age and their 137 spouses) were recruited from five regions. In three regions with
exposed to glyphosate-based formulations from aerial spraying, blood samples were taken from
the same individuals at three time points – (1) before spraying (baseline), (2) 5 days after
spraying, and (3) 4 months after spraying – to determine the frequency of micronucleus
formation in lymphocytes. Compared to a reference region without use of pesticides, subjects
residing in the three regions where there had been aerial spraying of glyphosate-based
formulations and in a fourth region with pesticide exposure (but not administered aerially) had
significantly higher baseline frequency of binucleated cells with micronuclei. Increased

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frequency of micronucleus formation in peripheral blood lymphocytes compared to baseline
frequencies was also reported in subjects from the three regions. Directly after aerial sprays with
the glyphosate-based formulation, subjects showed higher frequency of binucleated cells with
micronuclei. However, the observed increases in micronuclei formation was reported to be
inconsistent with the rates of application used in the regions; there was no association between
self-reported direct contact with pesticide sprays and frequency of binucleated cells with
micronuclei. In one of the 3 regions, subjects’ frequency of binucleated cells with micronuclei
was significantly decreased 4 months after spraying compared to their frequencies immediately
after spraying.


       Studies in human cells in vitro (See Table 3b)

         In studies using human cells in vitro, glyphosate induced DNA strand breaks (measured
using the comet assay) in liver HEP-2 cells (F Mañas et al., 2009), lymphocytes (Alvarez-Moya
et al., 2014; Mladinic, Berend, et al., 2009), GM38 fibroblasts, the HT1080 fibrosarcoma cell
line (Monroy et al., 2005), and the TR146 buccal carcinoma line (Koller et al., 2012). DNA
strand breaks were induced by AMPA in Hep-2 cells (Fernando Mañas et al., 2009), and by a
glyphosate-based formulation in the TR146 buccal carcinoma cell line (Koller et al., 2012).
AMPA, the degradation product of glyphosate and main metabolite of glyphosate, and
glyphosate-based formulation also induces DNA strand breaks in Hep-2 cells and in the TR146
buccal carcinoma cells line, respectively. AMPA (F Mañas et al., 2009), but not glyphosate
(Fernando Mañas et al., 2009), was found to produce chromosomal aberrations in human
lymphocytes. Sister-chromatid exchange was induced by glyphosate (Bolognesi et al., 1997) and
by a glyphosate-based formulation (Claudia Bolognesi et al., 1997; Vigfusson & Vyse, 1980) in
human lymphocytes exposed in vitro. Glyphosate did not induce concentration-related increases
in micronucleus formation in human lymphocytes at levels estimated to correspond to
occupational and residential exposure (Mladinic, Perkovic, & Zeljezic, 2009).

       Several studies have been conducted assessing the effect of glyphosate and its variations
on oxidative stress, inflammation and immunosuppression. In studies examining the effects of
glyphosate on oxidative stress parameters in the human keratinocyte cell line (HaCaT), a
glyphosate-based formulation was found to be cytotoxic to HaCaT cell – addition of antioxidants
reduced cytotoxicity (Gehin, Guillaume, Millet, Guyon, & Nicod, 2005). Another study showed
that incubation of HaCaT cells with glyphosate at 21 mM (the half maximal inhibitory
concentration for cytotoxicity, IC50) for 18 hours increased production of hydrogen peroxide
(H2O2) as shown by dichlorodihydrofluorescein diacetate assay (Elie-Caille, Heu, Guyon, &
Nicod, 2010). Similar findings were reported by George & Shukla (2013) using 41% pure
glyphosate up to 0.1 mM (George & Shukla, 2013). Dicholorodihydrofluorescein diacetate was
used as a marker of oxidative stress limiting the validity of the findings (Bonini, Rota, Tomasi, &
Mason, 2006; Kalyanaraman et al., 2012). The oxidative effects of glyphosate, AMPA, and a
glyphosate-based formulation on oxidative stress in HepG2 cells was evaluated by Chaufan et al.
(2014) and showed only the formulation had an adverse effects by increasing levels of reactive
oxygen species, nitrotyrosine formation, superoxide dismutase activity, and glutathione, but did
not have an effect on catalase or glutathione-S-transferase activities (Chaufan, Coalova, &
Molina, 2014). Coalova et al (2014) found that exposing Hep2 cells to a formulation resulted in

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various elevated parameters of oxidative stress. Exposure to the glyphosate-based formulation
for 24 hours increased catalase activity and glutathione levels, with no effect on superoxide
dismutase or glutathione=S-transferase activity (Coalova, de Molina, & Chaufan, 2014).
Mladinic et al. (2009b) used blood samples from non-smoking male donors to examine the
effects of in-vitro exposure to glyphosate on oxidative DNA damage in primary lymphocyte
cultures and on lipid peroxidation in plasma. In both parameters glyphosate exposure
significantly elevated the DNA damage when concentrations were 580 µg/mL or higher.
Examining the effects of glyphosate, AMPA, and other related compounds in human
erythrocytes collected from healthy donors, Kwiatkowska et al. (2014) found that exposed
erythrocytes had increased production of reative oxygen species (Kwiatkowska, Huras, &
Bukowska, 2014). One study was available investigating the effects of glyphosate on cytokine
production in human peripheral blood mononuclear cells (Nakashima et al., 2002). At 1mM
glyphosate had a slight inhibitory effect on cell perliferation and modestly inhibited the
production of IFN-gamma and IL-2. The production of TNF-α and IL-1 β was not affected by
glyphosate at concentrations that significantly inhibited proliferative activity and T-cell-derived
cytokine production.

        Several studies have been developed to assess the effect of glyphosate exposure on cell
proliferation and death. George & Shulka (2013) found that a glyphosate-based formulation
increased the number of viable cells in HaCaT keratinocytes(George & Shukla, 2013). Eight
human cancer cell lines was inhibited cell growth when exposed to glyphosate and AMPA – the
greatest loss of viability were in ovarian and prostate cell lines (Li et al., 2013). Immortalized
prostate cell lines were not affected. Using t47D breast cancer cells, Thongprakaisang et al.
(2013) saw an increased growth in the cancer cells when exposed to glyphosate only when
endogenous estrogen was minimized in the culture medium (Thongprakaisang et al., 2013). The
growth of hormone-independent cultured breast cancer cells was not affected by glyphosate. The
effect on apoptotic cell death given glyphosate exposed has been studied in HepG2 human
hepatoma cell line. Glyphosate-based formulations induced apoptosis, while glyphosate alone
generally was ineffective or showed effects at considerably high concentrations (Chaufan et al.,
2014; Coalova et al., 2014; Gasnier et al., 2009; Mesnage, Bernay, & Séralini, 2013).
Formulations showed to be more cytotoxic than glyphosate alone in studies with glyphosate and
nine different glyphosate-based formulations in three cell lines (Mesnage et al., 2013). In
HUVEC primary neonate umbilical cord vein cells, and 293 embyonic kidney and JEG3
placental cell lines, Benachour & Séralini (2008) found that glyphosate at relatively high
concentrations induced apoptosis (Benachour & Séralini, 2008). The umbilical cord HUVEC
cells were the most sensitive (by about 100-fold) to the apoptotic effects of glyphosate. Heu et al.
(2012) evaluated apoptosis in immortalized human keratinocytes (HaCaT) exposed to glyphosate
(5–70 mM) (Heu, Berquand, Elie-Caille, & Nicod, 2012). Based on annexin V, propidium iodide
and mitochondrial staining, exposures leading to 15% cytotoxicity gave evidence of early
apoptosis, while increases in late apoptosis and necrosis were observed at higher levels of
cytotoxicity.

IX.    Bradford Hill Criteria for Causation

           While studies may assess associations, the decision regarding whether causality, as
           opposed to reverse causality, confounding, or some other relationship exists between

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   a putative exposure and outcome reflects a judgment call on the part of an educated
   experienced observer. The issue of causation in science can be appreciated by how
   extensively it is discussed and expounded upon within the writings of various
   philosophers, thinkers, and scientists going back to Plato and Aristotle, but the
   discussion of this topic profoundly accelerated during the time frame of the
   Empiricists in the sixteenth to eighteenth centuries, reflecting the growth of true
   experimental science and observation and an effort to be able to systematize and
   understand it.

   Prior to the twentieth century, in medicine, the scientific endeavors, such as they
   were, focused almost exclusively on infectious diseases, and even there causality was
   a major concern. One solution to this problem were the so-called Koch’s Postulates,
   an algorithm by which to establish the etiologic agent for an infectious disease. It had
   a few instances of spectacular success, but in truth, it could not be often applied in
   human disease as it required that the infectious agent be introduced into a naïve host
   and cause the disease, something which was usually unacceptable, and today would
   almost always be unethical.

   The advent of chronic diseases as the major health problems of the latter half of the
   twentieth century revived the causation issue, as again one could not apply any form
   of Koch’s Postulates. Indeed, most scientists were skeptical of whether lifestyle or
   behavioral factors could even be responsible for disease, in contrast to infectious or
   toxic agents. Tobacco and lung cancer became the salient testing ground for this
   issue, and it proved difficult to convince both the scientific and lay public of the
   etiologic relationship between the two, especially in the face of fierce tobacco
   company opposition but with growing observational data in support of the hypothesis.
   For obvious reasons, it was impossible to undertake a study along the lines of Koch’s
   Postulates.

   In response to this problem there arose a set of criteria known as the Bradford Hill
   Criteria, published in 1965, named after their author, which became a checklist of
   sorts against which to weigh the collected evidence for a putative association in
   chronic disease epidemiology. They have remained to this day as the centerpiece of
   most circumstances in which a causal decision has to be made. Of particular
   relevance to this case is that they are also central to the methodology by which IARC
   reaches its judgments regarding carcinogenesis. We list them below and address each
   one in regard to the glyphosate/NHL question.

          a. Temporality: This is always a key criterion for causality as it is an
             absolutely necessary condition, i.e., the cause must precede the effect.
             Certainly in this case, by the nature of the studies conducted, there is no
             doubt that this criterion was met. Exposure to glyphosate and its
             formulations preceded the development of NHL in all the human and all
             the animal studies.




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         b. Consistency:       This criterion assesses whether the various studies
            essentially found similar results. Figures 1 and 2 summarize the findings
            of the case-control studies in Forest plots. If there were no association
            between glyphosate and NHL, i.e., if the two phenomena were truly
            random, then the measured associations in the studies should have
            randomly distributed themselves around 1. If one looks in the literature at
            exposures that have been shown not to be associated with certain
            outcomes, that is what one finds in the Forest plots. But that is not what
            one finds here. Here one finds that all the studies show a positive estimate
            of association between the exposure and the outcome. It is true that they
            are not all statistically significant. Many things attenuate the measurement
            of a statistical association ranging from any degree of misclassification in
            the measurement of the exposure or outcome to biases. But what is telling
            in the Forest plots is the consistency – they are primarily positive and to
            the right of 1. This consistency is amplified by the finding that when the
            data are meta-analyzed, they do indeed come out to be statistically
            significant.

         c. Dose-Response: Two of the studies do suggest that there is a dose-
            response relationship, and that there is both a stronger association with
            increased exposure, as well as a statistically significant relationship. (See
            McDuffie (2002), Eriksson (2008)).

         d. Biological Plausibility: Glyphosate has been shown to cause tumors in
            animal studies and there are at least two biological mechanisms (i.e.,
            genotoxicity and oxidative stress) adduced for its mode of action. IARC
            considered this a strong rationale for carcinogenicity.

         e. Strength: Meta-analyses suggest that the strength of association between
            ever use of glyphosate and NHL is in the range of 1.3-1.5. Of course, as
            mentioned in section c above, there is a dose-response so those exposed
            with high levels or for long durations have higher levels of risk. For
            example, Mc Duffie (2002) shows an OR=2.12 for people who used
            glyphosate greater than 2 days per year, and Eriksson (2008) showed an
            OR=2.36 for people who used glyphosate longer than 10 years.

         f. Analogy: Not applicable.

         g. Specificity: This is a criterion that is often not applicable in assessing a
            causal relationship and is ignored. However, this is one instance in which
            specificity does appear to apply. Glyphosate has not been associated with
            a broad range of malignancies, like epithelial cancers or even Hodgkin
            lymphoma, which would have suggested that methodological issues or
            biases in the studies could be the reasons rather than a true causal
            relationship. The fact that glyphosate has been linked specifically to NHL
            provides further reassurance that the association is causal.

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Orsi et al.   2009 Occupational       Case-Control   Cases: 491 (response rate,           France      Any glyphosate exposure   NHL   1.0 (0.5-2.2)
                   exposure to                       95.7%); cases (244 NHL; 87 HL;       2000–2004
                   pesticides and                    104 LPSs; 56 MM) were
                   lymphoid                          recruited from main hospitals of
                   neoplasms                         the French cities of Brest, Caen,
                   among men:                        Nantes, Lille, Toulouse and
                   results of a                      Bordeaux, aged 20–75 years;
                   French case-                      ALL cases excluded
                   control study                     Controls: 456 (response rate,
                                                     91.2%); matched on age and sex,
                                                     recruited in the same hospitals as
                                                     the cases, mainly in orthopedic
                                                     and rheumatological departments
                                                     and residing in the hospital’s
                                                     catchment area
                                                     Exposure assessment method:
                                                     questionnaire




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JMPR   2006 Glyphosate. In: Joint           Mouse, CD-1 (M, F) 104   Diet containing glyphosate       Males                                 [P < 0.001; Cochran–
            FAO/WHO Meeting on              wk                       (purity, 98.6%) at doses of 0,   Haemangiosarcoma: 0/50, 0/50,         Armitage trend test]
            Pesticide Residues. Pesticide                            100, 300, 1000 mg/kg bw, ad      0/50, 4/50 (8%)                       NS
            residues in food – 2004:                                 libitum, for 104 wk              Histiocytic sarcoma in the
            toxicological evaluations.                               50 M and 50 F/group [age, NR]    lymphoreticular/haemopoietic
            Report No. WHO/PCS/06.1.                                                                  tissue: 0/50, 2/50 (4%), 0/50, 2/50
            Geneva                                                                                    (4%)

                                                                                                      Females
                                                                                                      Haemangiosarcoma: 0/50, 2/50
                                                                                                      (4%), 0/50, 1/50 (2%)
                                                                                                                                            NS
                                                                                                      Histiocytic sarcoma in the
                                                                                                      lymphoreticular/haemopoietic
                                                                                                      tissue: 0/50, 3/50 (6%), 3/50 (6%),
                                                                                                      1/50 (2%)




                                                                                                                                            NS




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FIGURE 1. FOREST PLOT FOR GLYPHOSATE/NHL – SHINASI & LEON, 2014




Figure D. (Schinasi & Leon, 2014)Forest plots showing estimates of association between non-Hodgkins Lymphoma and
occupational, agricultural exposure to (D) glyphosate.


FIGURE 2. FOREST PLOT – CHANG & DELZELL, 2016




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                 Professor of Medicine and Epidemiology.
   2003 -2006    Columbia University College of Physicians & Surgeons, New York, N.Y.
                 Acting Head, Division of Medical Oncology, Department of Medicine.
   2005 -        Columbia University College of Physicians & Surgeons, New York, N.Y.
                 Myron M. Studner Professor of Cancer Research in Medicine.
   2010- 2013    Head, Chronic Disease Epidemiology, Department of Epidemiology, Mailman School
                 of Public Health.
   2014-         Director of Faculty Development, Department of Epidemiology, Mailman School of
                 Public Health.

HOSPITAL APPOINTMENTS:
   1983 - 1991    Presbyterian Hospital, New York, N.Y. Assistant Attending Physician.
   1989 - 1998    Co-Director, Oncology Outpatient Unit, Presbyterian Hospital, New York, N.Y.
   1991 - 1999    Presbyterian Hospital, New York, N.Y. Associate Attending Physician.
   1993 - 1999    Harlem Hospital Center, New York, N.Y. Associate Attending Physician.
   1999 - Present New York Presbyterian Hospital, New York, N.Y. Director, Cancer Prevention
                  Center, Columbia-Presbyterian Campus.
   1999 - Present New York Presbyterian Hospital, New York, N.Y. Member, NYPH
                  Oncology Service Line Executive Council.
   1999 - Present New York Presbyterian Hospital, New York, N.Y., Attending Physician.
   1999 - 2008    Harlem Hospital Center, New York, N.Y., Attending Physician.
   2001 – Present New York Presbyterian Hospital, New York, N.Y. Member, NYPH Preventive
                  Service Line Executive Council.
   2002 – 2007    New York Presbyterian Hospital, New York, N.Y. Member, NYPH Digestive Disease
                  Service Line Executive Council.
   2002 – 2010    New York Presbyterian Hospital, New York, N.Y. Member, New York Presbyterian
                  Oncology Editorial Board.

HONORS AND AWARDS:
   1972 - 1973     B.A. awarded cum laude, Columbia College.
   1972 - 1977     Medical Scientist Training Program, Columbia P & S.
   1980 - 1981     Clinical Fellow of the American Cancer Society, Memorial Sloan-Kettering Cancer
                   Center.


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Alfred I. Neugut
Curriculum Vitae

     1980 - 1981        Clinical Associate of the Clinical Cancer Education Grant, Memorial Sloan-Kettering
                        Cancer Center.
     1981 - 1990        Mellon Fellow in Epidemiology in Medicine, School of Public Health and Department
                        of Medicine, Columbia University.
     1982 - 1983        Participant, Student Workshop of Society for Epidemiologic Research.
     1984 - 1986        Junior Faculty Fellow of the American Cancer Society.
     1996 - 1997        Distinguished Service Award, American Society of Preventive Oncology.
     2005-              Myron M. Studner Professorship in Cancer Research in the Department of Medicine
     2015               Mentor of the Year, Office of Academic Affairs and Irving Institute for Clinical and
                        Translational Research, Columbia University Medical Center.
     2016               Joseph R. Fraumeni Distinguished Achievement Award, American Society of
                        Preventive Oncology

GRANTS:
    1981 - 1990         Fellowship Awardee, Andrew Mellon Foundation Program for Epidemiology in
                        Medicine. Principal Investigator, M. Susser - $40,000 per year.
     1984 - 1986        Junior Faculty Fellowship, American Cancer Society - $10,000 per year.
     1986 - 1989        Principal Investigator, NCI grant #1-R01-CA37196. A Case-Control Study of
                        Colorectal Polyps - $450,383.
     1986 - 1990        Principal Investigator, American Institute for Cancer Research grant #86A77.
                        Obesity-Related Risk Factors for Prostate Cancer - $96,596.
     1986 - 1991        Principal Investigator, NCI grant #1-KO7-CA01211. Preventive Oncology Academic
                        Award $270,000.
     1987 - 1992        Project Principal Investigator on Epidemiology component, Aaron Diamond
                        Foundation. Colon Cancer Program at Columbia University. Principal Investigator,
                        IB Weinstein - $750,000.
     1988 - 1989        Principal Investigator, Cancer Research Society. Implications of Chemotherapy and
                        Radiation Therapy for Second Primary Cancers in the United States Population -
                        $54,000.
     1989 - 1990        Principal Investigator, Rudin Foundation. The Effect of Calcium Supplements on
                        Oncogene Expression - $85,000.
     1989 - 1990        Principal Investigator, IARC. Feasibility Phase of International Study of Cancer Risk
                        in Biology Research Laboratory Workers - $5,000.
     1990 - 1991        Principal Investigator, ACS Institutional Seed Grant. A Preliminary Study of Cancer
                        Incidence among Dominican Immigrants in Washington Heights - $15,000.
     1991 - 1992        Principal Investigator, ACS - NYC Division. Increasing Pap Smear Compliance
                        Among Young Women in Northern Manhattan - $13,000.
     1991 - 1996        Principal Investigator, NCI grant #5-T32-CA09529. Cancer Epidemiology,
                        Biostatistics, Environmental Sciences Training Program - $2,538,595.
     1992 - 1993        Co-Investigator, ACS - NYC Division. Dissemination of Cancer Screening and
                        Prevention Guidelines Among Urban Community Physicians Through Educational
                        Outreach. Principal Investigator, AR Ashford - $29,000.
     1992 - 1995        Principal Investigator, on Columbia University subcontract, NCI grant #2-PO1-
                        CA32617-09A1. Smoking, Diet and Other Risk Factors for Tobacco-Related Cancers.
                        Principal Investigator, G. Kabat, American Health Foundation - $202,285.
     1992 - 1995        Principal Investigator, NCI grant -R25-CA57905. Cancer Prevention Education
                        Outreach in North Manhattan - $298,011.
     1993 - 1994        Principal Investigator, subcontract from Cancer Prevention Research Institute.
                        Colorectal Cancer and DNA Repair Markers - $10,000.


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Alfred I. Neugut
Curriculum Vitae

     1993 - 2001     Co-Investigator, CDC U64/CCU206822. A Prospective Study of Cervical Disease in
                     HIV-Infected Women 5% effort on supplemental management project A.
                     Management of Cervical intra-epithelial neoplasia in HIV-infected and non-infected
                     women: A comparative study. Principal Investigator, T. Wright - $440,000 per year.
     1994 - 1999     Co-Investigator, NCI grant P30-CA13696. Cancer Center Support Grant for
                     Columbia Presbyterian Cancer Center, 10% effort. Principal Investigator, KH
                     Antman $1.8 million per year.
     1995 - 1996     Principal Investigator, NCI grant #P20-CA66224. Timing of Breast Cancer Surgery
                     and Biopsy within the Menstrual Cycle: Effects on Recurrence and Survival -
                     $19,839.
     1995 - 2005     Co-Principal Investigator, NCI grant #U01-CA66572. Breast Cancer and the
                     Environment on Long Island. Principal Investigator, M. Gammon $6,318,789.
     1995 - 1996     Principal Investigator, NCI grant #P20-CA66224. Preliminary Studies for Columbia-
                     HIP Minority Cohort Study (CHIPS) - $20,000.
     1995 - 1998     Principal Investigator, on Columbia University subcontract, NCI grant #2-PO1-
                     CA32617-09A2. Smoking, Diet and Other Risk Factors for Tobacco-Related
                     Cancers. Principal Investigator, S. Stellman, American Health Foundation -
                     $118,259.
     1996 - 1997     Principal Investigator, Bristol-Myers/Squibb grant. Second Malignancies and Ovarian
                     Cancer: Incidence, Therapy Effects, Clinical Characteristics, and Survival - $46,000.
    1996 - 1998      Principal Investigator, on Columbia University subcontract, Wireless Technology
                     Research grant. Cellular Telephone Use and Risk of Brain Tumors. Principal
                     Investigator, J. Muscat, American Health Foundation - $72,000.
     1996 - 2001     Principal Investigator, NCI grant #1-R25-CA66882. Breast Cancer Education in
                     North Manhattan - $770,273.
     1996 - 2001     Principal Investigator, NCI grant T32-CA09529. Training Program in Cancer
                     Epidemiology, Biostatistics, Environmental Health Sciences -
     1997 - 1998     Principal Investigator, Bristol-Myers/Squibb grant. Population-Based Study of Health
                     Outcomes in Colorectal Cancer - $54,000.
     1997 - 2001     Principal Investigator, supplemental award to NCI grant #3-P30-CA13696-2551 (K.
                     Antman, PI). Studying Complications in Breast Cancer Survivors - Lung Cancer
                     After Breast Cancer Radiotherapy - $235,980.
     1998 - 1999     Co-Investigator, USAMRMC MP980014. Race/Ethnic Based Genetic Variations in
                     Human Genes: Defining the Genetic Evidence for Disparity of Prostate Cancer Risk
                     and Mortality Between Different Populations. Principal Investigator, J. Franklin -
                     $49,840.
     1998 - 1999     Co-Investigator, Columbia Clinical Trials Office. PTEN Mutations in Prostate
                     Cancer; Pathologic Correlations and Clinical Significance. Principal Investigator,
                     M.A. Rubin - $49,900.
     1998 - 1999     Principal Investigator, Columbia University subcontract, New York City contract to
                     Academic Medicine Development Corporation, New York Cancer Project. Principal
                     Investigator, Maria Mitchell - $153,082.
     1998 - 2001     Co-Investigator, USAMRMC BC972005. Cytochrome p450-17cx Polymorphism and
                     Risk of Breast Cancer. Principal Investigator,
                     H. Ahsan - $232,732.
     1998 - 2001     Co-Principal Investigator, Robert Wood Johnson Foundation. Addressing Tobacco in
                     Managed Care Program. Principal Investigator, D. Sadowsky - $500,000.
     1999 - 2000     Co-Investigator, USAMRMC PC 991287. Assessment of Genetic Variations Among
                     Different Ethnic/Racial Groups: An Explanation of Ethnic/Racial Disparities in
                     Prostate Cancer Risk and Mortality. Principal Investigator, J. Franklin - $74,999.

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Alfred I. Neugut
Curriculum Vitae
     1999 - 2002     Principal Investigator, Gustavus and Louise Pfeiffer Research Foundation. The
                     Patterns and Effectiveness of Advanced Ovarian Cancer Treatment in Elderly Women
                     - $223,398.
     1999 - 2002     Co-Director, Columbia Presbyterian Campus. NYPH Cancer Prevention Center -
                     $675,000.
     1999 - 2002     Principal Investigator, American Cancer Society TIOG-99-363-01-CPC.
                     Dissemination of Colorectal Cancer Screening to Primary Care Physicians - $976,000.
     1999 - 2003     Principal Investigator, Columbia University subcontract, NCI grant #RO1-CA81932,
                     Tailored Communications for Colorectal Cancer Screening. Principal Investigator, C.
                     Basch, Teachers College - $170,970.
     1999 - 2003     Co-Principal Investigator, NIH grant #SO6-GM54650. Psychosocial Deterrents to
                     Breast Cancer Screening in Three Ethnic Groups of Older Black Women. Principal
                     Investigator, C. Magai, Long Island University - $1,551,631.
     1999 - 2007     Principal Investigator, NYSDOH. Colorectal Cancer Screening and Prostate Cancer
                     Education - $177,161.
     2000 - 2001     Principal Investigator, Avon Products Foundation. Breast Cancer Research Program.
                     Follow-up of breast cancer survivors in the elderly - $50,000.
     2001 - 2003     Principal Investigator, American Cancer Society RSGHP-01-024-01-CCE.
                     Effectiveness of Cancer Care in the Elderly - $622,000.
     2001 - 2003     Co-Investigator, NCI grant R03-CA92748. Barrett’s Esophagus Ablation with
                     Celecoxib Trial. Principal Investigator, C. Lightdale - $100,000.
     2001 - 2003     Co-Investigator, NCI grant R03-CA96422. Cognitive effects of breast cancer
                     treatment. Principal Investigator, Felice Tager - $100,000.
     2001 - 2004     Principal Investigator, NCI grant P20-CA91372. Cancer in Older Minority
                     Populations - $375,000.
     2001 - 2006     Principal Investigator, NCI grant K05-CA89155. Established Investigator Award in
                     Cancer Prevention, Control, Behavioral and Population Research: Colorectal Cancer
                     and Other Cancers of the GI Tract. $660,000.
     2001 - 2006     Co-Principal Investigator, CDC grant #U57/CCU220685. Dissemination of Cervical
                     Cancer Screening to Primary Care Physicians. Principal Investigator, Sherri Sheinfeld
                     Gorin - $1,107,735.
     2002 - 2003     Principal Investigator, Avon Products Foundation/ACS grant. Brooklyn Physicians
                     Against Cancer: An Academic Detailing Project – $395,551.
     2002 - 2004     Principal Investigator, Pfizer/Pharmacia-NYPH National Newsletter on Cancer
                     Prevention - $200,000.
     2002 - 2005     Co-Director, Columbia Presbyterian Campus. NYPH Cancer Prevention Center -
                     $675,000.
     2002 - 2007     Principal Investigator, NCI grant T32-CA09529. Training Program in Cancer
                     Epidemiology, Biostatistics, Environmental Health Sciences – $1,936,098.
     2002 - 2007     Principal Investigator, NCI grant R25 CA94061. Training Program in Cancer Related
                     Populations Sciences - $2,052,258.
     2003 - 2014     Associate Director and Program Leader, NCI grant P30-CA13696 (Dalla-
                     Favera).Herbert Irving Comprehensive Cancer Center Support Grant - $1,300,000.
     2003 - 2004     Principal Investigator, Cellular Telecommunications and Internet Association (CTIA)
                     grant. The Mobile Phone Study: National Brain Cancer Rates and Mobile Phone Use
                     - $48,000.
     2003 - 2005     Co-Investigator, American Cancer Society grant RSGHP PBP-105710. Decision
                     analysis of population screening for BRCA1/2 mutations. Principal Investigator,
                     Victor Grann - $181,000.
     2003 - 2006     Principal Investigator, Columbia University subcontract, NCI grant U10-CA101178.
                     Fox Chase Cancer Center CCOP-Research Base Program. Principal Investigator, Paul
                     Engstom - $2,805,791, subcontract $132,393.

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Alfred I. Neugut
Curriculum Vitae

     2003 – 2008     Principal Investigator, NCI U54 CA101598. Cancers in Older Minority Populations:
                     Caribbean American Emphasis - $3,173,271.
     2003 – 2008     Co-Principal Investigator, NCI U54 CA101388. Cancers in Older Minority
                     Populations: Caribbean American Emphasis. Principal Investigator, Carol Magai -
                     $4,330,399.
     2003 - 2006     Co-Investigator, NCI R01 CA80197. The Jerusalem Perinatal Study. Principal
                     Investigator, Susan Harlap - $1,452,622.
     2003 - 2006     Principal Investigator, Columbia University subcontract, NCI N01-CN-35159
                     Phase 1 and 2 Clinical Trials of Chemopreventive Agents. Principal Investigator,
                     Scott Lippman, M.D. Anderson Cancer Center.
     2003 - 2004     Principal Investigator, Columbia University subcontract, NCI N01-CN-17103
                     Early therapeutics development with phase 2 emphasis. Principal Investigator, E.
                     Lesser, Montefiore Medical Center
     2005- 2007      Principal Investigator, American Cancer Society grant RSGT-01-02404-CPHPS.
                     Effectiveness of Cancer Care in the Elderly - $623,000.
     2005- 2017      Principal Investigator, Department of Defense Breast Cancer Center of Excellence
                     Award BC043120. Racial disparities in the initiation and intensity of adjuvant
                     therapy for breast cancer - $9,966,608.
     2006-2008       Co-Investigator, NCI R21 CA114064. Columbia-GHI Consortium for Claims-based
                     Cancer. Principal Investigator, S. Stellman - $275,150.
     2007-2008       Principal Investigator, NYSDOH Colorectal Cancer Sceening and Prostate Cancer
                     Education Initiative for Bronx County - $50,000.
     2007-2009       Co-Investigator, Komen Foundation. Post-Treatment Care of Latina Breast Cancer
                     Survivors. Principal Investigator, D. Hershman - $300,000.
     2007-2011       Co-Investigator, Columbia University subcontract, NCI R01 CA124924, Using
                     Physiologic Age to Predict Chemotherapy Toxicity. Principal Investigator, J.
                     Mandelblatt - $304,638 (Columbia University Subcontract).
     2007-2012       Principal Investigator, NCI grant R25 CA94061. Training Program in Cancer Related
                     Populations Sciences - $2,445,223.
     2008-2010       Co-Principal Investigator, American Cancer Society grant RSG 08-009-01-CPHPS.
                     Adjuvant Breast Cancer Therapies - Racial Variations in Care and Survival.
                     Principal Investigator, D. Hershman - $715,327.
     2008-2013       Principal Investigator, NCI grant T32-CA09529. Training Program in Cancer
                     Epidemiology, Biostatistics, and Environmental Health Sciences – $2,235,920.
     2008-2013       Principal Investigator, NYSDOH. Breast Cancer Screening, Colorectal Cancer
                     Screening and Prostate Cancer Education - $250,000/yr.
     2008-2012       Co-Investigator, NCI grant R01 CA134964. Determinants and risks of use and
                     overuse of expensive drugs. Principal Investigator, D. Hershman - $639,600.
     2009-2010       Principal Investigator, Brain Tumor Foundation. MRI Early Detection Program –
                     $48,210.
     2009-2010       Principal Investigator, Herbert Irving Comprehensive Cancer Center Pilot Grant.
                     Adherence to hormonal therapy in breast cancer: an intervention trial - $75,000.
     2009-2010       Principal Investigator, NCI grant U54 CA1015978-0551. ARRA Supplement to
                     Cancer in Older Minority Populations: Caribbean American - $94,270.
     2009-2014       Co-Investigator, American Cancer Society grant RSGT-09-012-01-CPPB. Promoting
                     CRC screening in a hard-to-reach, low-income minority population. Principal
                     Investigator, CE Basch - $1,975,355.
     2010-2011       Principal Investigator, Women at Risk. Use of urinary biomarkers for detecting drug
                     adherence with aromatase inhibitors in women with early stage breast cancer. -
                     $20,000.

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Alfred I. Neugut
Curriculum Vitae
     2010-2013       Principal Investigator, Department of Defense Prostate Cancer Research Program
                     Health Disparity Research Award – Established Investigator PC094372. Racial
                     Disparities in Palliative Care for Prostate Cancer. $450,000.
     2010-2013       Principal Investigator, NCI grant D43 CA153715. Columbia-South Africa Training
                     Program for Research on HIV-Associated Malignancies - $1,465,971.
     2010-2014       Subcontract Principal Investigator, R01 HS0197670. Comparative Effectiveness of
                     Surgical Treatments for Lung Cancer in Elderly. Principal Investigator, J Wisinevsky,
                     Mt. Sinai Medical Center - $255,457.
     2011-2015       Principal Investigator, Conquer Cancer Foundation of ASCO-Komen Foundation
                     Improving Cancer Care Grant. Text Messaging to Reduce Early Discontinuation of
                     Adjuvant Hormonal Therapy in Breast Cancer: A Randomized Trial - $1,350,000.
     2012-2015       Principal Investigator, American Cancer Society grant RSGT-11-012-01-CPHPS. The
                     relationship between insurance and cancer-related prescription drug use. - $589,812.
     2012-2017       Principal Investigator, NCI grant R25 CA94061. Training Program in Cancer Related
                     Populations Sciences - $2,437,354.
     2013-2017       Co-Investigator, NCI grant R01 CA169121. The Influence of Hospital Variability on
                     the Management of Cancer-Associated Complications. Principal Investigator, JD
                     Wright - $1,660,000.
     2013-2016       Co-Investigator, NCI grant R01 CA186084. Using SWOG-Medicare database to
                     evaluate long-term toxicities of cancer survivors. Principal Investigator, DL
                     Hershman - $1,230,000.
     2013-2014       Principal Investigator, NCI grant D43 CA153715. Columbia-South Africa Training
                     Program for Research on HIV-Associated Malignancies (supplement) - $250,000.
     2014-2019       Principal Investigator (Multi-PI Schwartz (Contact), Lassman), NCI grant UM1
                     CA189960. Columbia University Minority/Underserved Site NCI Community
                     Oncology Research Program - $3,275,000.
     2014-2019       Associate Director, NCI grant P30-CA13696 (Stephen Emerson).Herbert Irving
                     Comprehensive Cancer Center Support Grant - $2,370,450.
     2014-2017       Principal Investigator, Brain Tumor Foundation. Brain Tumor Early Detection Study -
                     $746,476.
     2014-2015       Co-Investigator, Herbert Irving Comprehensive Cancer Center Pilot Grant. Gut
                     Microbiota, Butyrate, Inflammation and Physical Activity: A Pilot Study among
                     Individuals at High Risk for Colorectal Cancer. Principal Investigators, H Greenlee, B
                     Williams - $75,000.
     2015-2019       Co-Investigator, American Cancer Society Mentored Research Scholar Grant. Dietary
                     Intake and Obesity in Children with Acute Lymphoblastic Leukemia. Principal
                     Investigator, EJ Ladas - $729,000.
     2015-2020       Principal Investigator (Multi-PI Joffe (Contact), Jacobson, Ruff), NCI grant R01
                     CA192627. HIV’s Effects on Breast Cancer Treatment and Outcomes in South Africa
                     - $1,450,359.
     2015-2017       Principal Investigator, supplemental award to promote cancer prevention and control
                     research in LMIC countries to NCI grant #P30-CA13696 (S. Emerson, PI). Palliative
                     care and end-of-life issues among cancer patients in Soweto, South Africa - $260,000.
     2015-2017       Principal Investigator, New York State Department of Health Prostate Cancer
                     Hypothesis Development Grant, Impact of HIV on the Burden of Prostate Cancer in
                     South Africa - $89,584
     2016-2018       Principal Investigator, supplemental award for Pilot Program on Aging, HIV, and
                     Outcomes in Non-AIDS Defining Cancers in Sub-Saharan Africa to NCI grant #P30-
                     CA13696 (S. Emerson, PI) - $399,082
     2017-2022       Principal Investigator (Multi-PI Terry), NCI grant T32 CA094061-16. Training
                     program in cancer-related population sciences - $1,349,804.


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Alfred I. Neugut
Curriculum Vitae

     2017-2018          Mentoring PI (Multi-PI Madiba, Sartorius), pilot grant from Pilot Program on HIV,
                        Aging, and Outcomes in Non-AIDS Defining Cancer in Sub-Saharan African (P30
                        CA13696). HIV, aging and colorectal cancer among black patients in a hyperendemic
                        HIV setting, KwaZuluNatal, South Africa - $30,000.
     2017-2020          Co-investigator (Multi-PI Graham, Ruff, Black), Brisol-Myers Squibb Foundation
                        Secure the Future Lung Cancer Programme. Centre of Respiratory Excellence
                        (CORE), Gauteng - $1,500,000.

ADMINISTRATIVE RESPONSIBILITIES
    1985 - 1992    Division of Cancer Control, Columbia University Comprehensive Cancer Center,
                   Medical Director of Columbia Tumor Registry.
    1986 - 1992    Presbyterian Hospital Cancer Committee, Member.
    1988 - 1989    Division of Cancer Control, Columbia University Comprehensive Cancer Center,
                   Director of "Test for Life" Colorectal Cancer Screening Program.
    1988 - 1989    Columbia University Comprehensive Cancer Center, Co-Deputy Director for Cancer
                   Control and Regional Activities.
    1989 - 1991    Columbia University Comprehensive Cancer Center, Deputy Director for Cancer
                   Epidemiology and Prevention.
    1990 - 1991    Environmental Sciences Search Committee, Member.
    1990 - 2005    Director, Columbia University Seminar on Cancer.
    1990 - 2003    Columbia University Comprehensive Cancer Center, member of ACS Institutional
                   Research Grant Committee.
    1991 - 1992    Columbia University Comprehensive Cancer Center, Associate Director for Cancer
                   Etiology, Prevention, and Control.
    1992 - 1993    Presbyterian Hospital Autopsy Committee, member.
    1993 - 1998    Columbia-Presbyterian Cancer Center, Head of Working Group on Cancer Prevention
                   and Control.
    1993 - 1999    Columbia-Presbyterian Cancer Center, Head of Working Group on Gastrointestinal
                   Tract Cancers.
    1993 - 1995    School of Public Health Steering Committee, member.
    1994 - 1995    Faculty Council of the Faculty of Medicine, member.
    1995 - 1999    Member, Columbia-Presbyterian Cancer Center Protocol Review Committee.
    1996 - 2011    Head, Epidemiology Faculty Appointments and Promotions Committees.
    1999 - Present Head, Prevention, Control and Disparities Program, Herbert Irving Comprehensive
                   Cancer Center.
    1999 - Present Member, Executive Committee of the Department of Medicine.
    2001 - 2002    Member, Avon Products Foundation Professorship Search Committee
    2002 - 2011    Chair, Committee on Appointments and Promotions, Department of Epidemiology.
    2002 - Present New York Presbyterian Hospital, Member of Advisory Committee for Celiac Disease
                   Center.
    2004 - Present Associate Director for Population Sciences, Herbert Irving Comprehensive Cancer
                   Center.
    2004 - 2005    Member, Urology Chair Search Committee, Herbert Irving Comprehensive Cancer
                   Center.
    2005 - 2007    Member, Search Committee for Mieczyslaw Finster Professor of Anesthesiology and
                   Epidemiology.
    2007 - Present Member, Department of Medicine, Standing Committee on Recruitment and
                   Retention for Clinical and Epidemiology Research.
    2008 - 2009    Chair, Environmental Health Sciences Chair Search Committee.
    2010 - 2011    Member, Search Committee for Director of Bone Marrow Transplant Unit.
    2012 -         Member, Committee on Appointments and Promotions, Department of Epidemiology
                                                  8
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Alfred I. Neugut
Curriculum Vitae

     2016-                Member, Cancer Scientist Search Committee, P&S
     2017-                Member, Internal Advisory Committee, Brain Tumor SPORE

TEACHING EXPERIENCE AND RESPONSIBILITIES:
    Courses Taught, Primary Instructor
    P8414 - Cancer Epidemiology, 15-40 students, 1982-2016
    P8401 - Pharmacoepidemiology, 25 students, 1995-1998
    P9480 - Epidemiology Colloquium, 50 students, 1992
    G4500 – Cancer Biology II, Department of Pathology, 7-15 students, 2010 –2013
    EPIC, Cancer Epidemiology, Department of Epidemiology, 8-12 students, 2011- 2017

     Courses Taught, Preceptor or Lecturer
     First Year Medical School Epidemiology, Preceptor, 20-25 students, 1983-1990.
     Abnormal Human Biology, Oncology Preceptor, 20-25 students, 1986-1996, 2000-2004.
     Pathophysiology for Occupational and Physical Therapy, Lecturer, 50-75 students, 1985-.
     P6729 - Preventive Medicine and Public Health, Lecturer, 25-35 students, 1987-2007.
     Institue of Human Nutrition, Nutrition and Chronic Disease, Lecturer, 50 students, 2008-
     The Body in Health and Disease, Hematology/Oncology Lecture on Cancer Screening, 2011

     Clinical Teaching
     Ward Attending, Medical Service, 1-2 months/year, 1983-.
     Oncology Consult Attending, 1-2 months/year, 1983-.
     Oncology Consult Attending, Harlem Hospital Center, 4-6 months/year, 1993-2006
     Oncology Fellow Course, Study Design and Epidemiology, 10-12 lectures, 2015, 2017.

     Graduate Student Supervision
         Doctoral Advisor
         1995 - Judith S. Jacobson, Dr.P.H., Epidemiology. Associate Professor of Epidemiology, Columbia.
         1996 - Jeanne Mandelblatt, Ph.D., Epidemiology, pending. Professor of Oncology and Medicine,
         Director of the Division of Health Outcomes and Health Behavior, and Associate Director for
         Population Sciences for the Lombardi Cancer Center at Georgetown University Medical School
         1996 - Ilene Prokup, Dr.P.H., Epidemiology, pending, Associate Professor of Nursing, Kutztown
         University, Pennsylvania
         1999 - Mary Beth Terry, Ph.D., Epidemiology. Professor of Epidemiology, Columbia.
         2005 - John Doyle, Dr.P.H., Epidemiology, Vice President of Quintiles Consulting

          M.S./M.P.H. Advisor (selected)
          1983 - Christine Johnsen, M.P.H., Epidemiology
          1988 - Salvador Pita, M.P.H., Epidemiology
          1990 - Sarah Garrison, M.P.H., Epidemiology
          1991 - Jose Guillem, M.P.H., Epidemiology
          1992 - Clark Chen, M.S., Epidemiology
          1993 - Jason Santos, M.P.H., Epidemiology
          1994 - Ghada Sherif, M.S., Epidemiology
          1995 - Sungmin Suh, M.S., Epidemiology
          1996 - Zareen Khan, M.P.H., Epidemiology
          1996 - Greg Hocking, M.P.H. Epidemiology
          1997 - David J. Rosenberg, M.P.H., Epidemiology
          1997 - John Doyle, M.P.H., Epidemiology
          1998 - Beverly Insel, M.P.H., Epidemiology

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Alfred I. Neugut
Curriculum Vitae

           2001 - Pierre Krakiewicz, M.P.H. Epidemiology
           2001 - Susan Sweeney, M.P.H. Epidemiology
           2001 - Melissa Carlson, M.P.H. Epidemiology
           2009 - Yin Cao, M.P.H. Epidemiology
           2009 - Sophie Rousseau, M.P.H., Epidemiology (Ecole Hautes d’Etude Sante Publique, Paris)
           2012 –Stephen J. Mooney, M.P.H., Epidemiology

           Doctoral Committees
           1989 - Robert Macklin, Dr.P.H., Environmental Science
           1990 - Wendy Huebner, Ph.D., Epidemiology
           1993 - Dale Glasser, Ph.D., Epidemiology
           1993 - Immaculata DeVivo, Dr.P.H., Environmental Sciences
           1994 - John Luo, Dr.P.H., Environmental Sciences
           1996 - Lori Mosca, Dr.P.H., Epidemiology
           1997 - Peter Kanetsky, Ph.D. Epidemiology
           1998 - Bu Tian Ji, Dr.P.H, Epidemiology
           1999 - Emanuela Taioli, Dr.P.H., Epidemiology
           2000 - Andrew Rundle, Dr.P.H., Environmental Health Sciences
           2000 - Susan Teitelbaum, Ph.D., Epidemiology
           2001 - Tamara Do, Ph.D., Environmental Health Sciences
           2001 - Joshua Fogel, Ph.D., Clinical Psychology (Yeshiva University)
           2001 - Nandita Mitra, Ph.D., Biostatistics
           2001 - Joshua Muscat, Ph.D., Epidemiology (New York University)
           2002 - Sybil Eng, Ph.D., Epidemiology
           2002 - Paul Terry, Ph.D., Epidemiology
           2002 - Regina Zimmerman, Ph.D., Epidemiology
           2002 - Lydia Zablotska, Ph.D., Epidemiology 2002
           2003 - Sandro Galea, Ph.D., Epidemiology
           2004 - Julie Kranick, Epidemiology
           2005 - Elizabeth Kaufman, Ph.D., Epidemiology
           2007 - Sylvia Taylor, Ph.D., Epidemiology,
           2007 - Ai Kubo, Ph.D., Epidemiology
           2007 - Heather Greenlee, Ph.D., Epidemiology
           2010 - Heidi Mochari, Ph.D., Epidemiology
           2012 - Russell McBride, Ph.D., Epidemiology
           2011 – Meghan Work, Ph.D., Epidemiology, pending
           2011 - Joseph Jaeger, Dr.P.H., Epidemiology
           2012 - George Friedman-Jimenez. Dr.P.H., Epidemiology
           2013 - Dariush Nasrollahzadeh Nesheli, Ph.D., Epidemiology, Karolinska Institute, Sweden
           2015 - Gene Pesola, Ph.D., Epidemiology
           2015 - Laura Reimers Iadeluca, Ph.D., Epidemiology
           2016 - Stephen J. Mooney, Ph.D., Epidemiology
           2016 - Nathalie Mehler-Horowicz, Ph.D., Epidemiology

Post-doctoral trainees

Name                     Years          Institution/Degree/Year Research Project          Current Position/
                                                                Title                     Support
Garrison, Susan          '89-'91        Columbia U., MSPH       Study of cancer           Associate
                                        MPH ‘91                 among                     Professor of
                                        College of Physicians & Dominican                 Medicine, Albert
                                                    10
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                                Surgeons, MD ‘88           immigrants in       Einstein
                                                           Washington          College of
                                                           Heights, NY         Medicine, NY
Lee, Won Chul      '89-'91      Catholic U., Korea, M,     Risk factors for    Professor of
                                PhD                        colorectal          Preventive
                                                           adenomas and        Medicine Catholic
                                                           cancer              U., Korea
Mosca, Lori        '91-'92      Columbia U., MSPH          Physical activity   Professor of
                                MPH ‘92                    and colorectal      Medicine,
                                SUNY at Syracuse, MD       neoplasia           Columbia U.
                                ‘84
Ahsan, Habibul     '93-‘95      U. of Western Australia,   Studies on second   Professor of
                                M Med Sc ‘92               malignancies/       Health Studies,
                                U of Dhakar, MBBS ‘88      brain tumors        Human Genetics,
                                                                               U. of Chicago
Sherif, Ghada      '93-'94      Columbia U., MS ‘94        Coronary artery     Epidemiologist
                                Cairo U., Egypt '90        disease and         NCI of Egypt
                                M.B.B.Ch.                  colorectal cancer
Grann, Victor R.   ’95-‘97      Columbia MSPH, MPH         Decision analysis   Professor of
                                ‘97                        for women at high   Medicine and
                                 New York Medical, MD      risk for breast     Epidemiology
                                ‘62                        cancer              emeritus,
                                Yale, BA                                       Columbia U.

Davidow, Amy       '94-‘95      NYU, PhD ‘89               Development and     Associate
                                Tufts U, BA ‘80            application of      Professor of
                                                           biostatistical      Preventive
                                                           methods             Medicine
                                                                               (Biostatistics),
                                                                               UMDNJ
Rosenberg,         ‘94-‘97      Columbia U., MSPH          Coronary heart      Director of
David                           MPH ‘97                    disease and         Evidence-based
                                SUNY Downstate, MD         diabetes mellitus   Medicine,
                                ‘91                        and the risk of     Associate
                                CUNY, BA ‘87               prostate cancer     Professor of
                                                                               Medicine, Hofstra
                                                                               Northwell
Sharir, Sharon     ‘97-‘99      Columbia U., MSPH          Prognostic          Associate
                                MPH ‘99                    significance of     Professor of
                                U. of Toronto, MD’95,      p27 and Ki-67 in    Urology,
                                BS ‘91                     prostate cancer     University of
                                                           after               Toronto
                                                           prostatectomy
Sheinfeld Gorin,   ‘97-‘99      U. of Michigan, PhD        Uptake of
Sherri                          ‘96                        screening
                                U. of Pennsylvania, MS     recommendations
                                ‘82                        among physicians
                                            11
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Sundararajan       98-‘00         U. North Carolina, MPH   Preference of high   Professor of
Vijaya                            ‘96                      risk women for       Medicine,
                                  U. of Oklahoma, MD ‘89   prophylactic         University of
                                  U. of Oklahoma, BA ‘85   surgery              Melbourne School
                                                                                of Medicine,
                                                                                Melbourne
Hershman, Dawn ’97-‘01            Columbia U., MSPH,       Cancer               Professor of
                                  MS ‘01                   survivorship,        Medicine and
                                  Albert Einstein ., MD    racial disparities   Epidemiology,
                                  ‘94                      in chemotherapy      Columbia U.
                                  UCLA, BA ‘87             for cancer
Chen, Allen        ‘01-‘03        Columbia U., MSPH,       PSA levels among     Assistant
                                  MS ‘03                   Afro-Caribbean       Professor of
                                  Columbia U., MD ‘97      immigrant            Medicine and
                                  Harvard College, BA      populations          Assistant
                                  ‘93                                           Attending
                                                                                Physician, NYU
Honda, Keiko       ‘02-‘05        NYU., PhD. ‘02       Identifying
                                  NYU., MPH ‘99        psychosocial
                                                       pathways to
                                                       cancer screening
                                                       behaviors
Matasar,           ‘03-‘05        Columbia U., MSPH MS Impact of dose           Assistant
Matthew                           ‘05                  density of 5-FU          Professor on
                                  Harvard U., MD ‘01   therapy on               Lymphoma
                                  Harvard U., AB ‘96   survival in colon        Service at
                                                       cancer.                  MSKCC

Crew, Katherine    ‘03-‘05        Columbia U., MD , MS     Polyphenon E and Associate Prof of
                                  ‘05Brown University,     breast cancer     Medicine and
                                  BS ‘94                   prevention        Epidemiology,
                                                                             Columbia U.
Greenlee,          ’04-07         Columbia U, MSPH,        Complementary     Assistant
Heather                           Ph.D. (P)                and Alternative   Professor of
                                  Univ of Washington,      Medicine Use      Epidemiology
                                  MPH ‘03                  among Long        MSPH,
                                  Bastyr U., ND ‘99        Island Breast     Columbia
                                  University of            Cancer Study
                                  Washington, BA           Cases
Link, Lilli B.     ‘02- 05        Cornell U., MS ‘02       Hippocrates       Private practice
                                  Univ of Chicago, MD.,    Follow-up Study -
                                  ‘94                      feasibility and
                                   Wesleyan U. BA 89       effects of a raw
                                                           food diet
Zojwalla,          ’01-‘03        Temple U., MD, ‘98       Hormone           Pharmaceutical
Naseem                            Stanford, BA ‘94         Receptor Status   industry
                                                           and Breast Cancer
                                              12
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Abrams, Julian     ’05-07        Mt Sinai MD, ‘00           Inflamatory liver   Assistant
                                 University of Penn., BA,   disease and liver   Professor of
                                 ‘94                        mets.               Medicine and
                                                                                Epidemiology,
                                                                                Columbia
Hall, Michael      ’05-06        Columbia BA ’93; MD ‘      Analysis of         Associate
                                 99                         BRCA and DNA        Professor of
                                 U of Chicago, MHS, ‘05     repair data         Medicine and
                                                                                Clinical Genetics,
                                                                                Fox Chase Cancer
                                                                                Center

Strauss, Joshua    ’08-09        Einstein MD ’09; Penn      GI cancer           Private practice
                   ’14-15        BA ’05                     treatments and
                                                            outcomes
Lebwohl,           ’08-10        Columbia MD ’03, MS        Quality of          Assistant
Benjamin                         ‘10                        colonoscopy         Professor of
                                 Harvard BA ‘99             performance and     Medicine and
                                                            prep                Epidemiology,
                                                                                Columbia
MacDonald,         ’09-‘12       Pittsburgh PhD ‘09         Viruses and         Assistant
Alicia                                                      cancer in HIV       Professor of
                                                            patients            Epidemiology,
                                                                                Penn State
                                                                                University
Lasheen, Wael      ’09-‘12       Cairo University MBBS      Palliative care and Case Western
                                 ‘95                        racial disparities  Reserve, Research
                                                            among cancer        Scientist
                                                            patients
Brouse, Corey      ’09-‘11       Teachers College EdD       Promotion of        Associate
                                 ’03; University of New     colonoscopy         Professor,
                                 Hampshire BS ‘99           among the           Montclair State
                                                            underserved
Becker, Daniel     ’09-‘10       NYU MD ’04; Yale BA        Health outcomes     Assistant
                                 ‘00                        studies in the      Professor of
                                                            treatment of        Clinical Medicine,
                                                            colorectal cancer NYU
Sharaiha, Reem     ’10-‘11       University of London       Studies on GI       Assistant
                                 MBBS ‘03                   tract tumors        Professor of
                                                                                Gastroenterology,
                                                                                Cornell
Winner, Megan      ’10-‘12       Washington University      Studies on benign Instructor in
                                 in St. Louis MD ’07; BA    and malignant       Surgery, SUNY
                                 ‘02                        tumors of the       Stony Brook
                                                            pancreas
Vin-Raviv,         ’11-‘14       University of Haifa PhD    Studies on PTSD
Neomi                            ‘11                        and cancer
                                             13
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Khanna, Lauren     ‘12-‘14           Harvard MD ’07;            Disparities in      Assistant
                                     Princeton BA “02           pancreatic cancer   Professor of
                                                                                    Gastroenterology,
                                                                                    NYU
Oberstein, Paul    ’12-‘13           Ohio State MD ’06;         Translational       Assistant
                                     University of Maryland     studies in          Professor of
                                     BA ‘02                     pancreatic cancer   Medicine,
                                                                                    Columbia
Tsui, Jennifer     ’12-‘14           UCLA PhD ’12;              Insurance and       Assistant
                                     Columbia MPH ’05; UC       health outcomes     Professor of
                                     Berkeley BA ‘03            studies             Public Health,
                                                                                    Robert Wood
                                                                                    Johnson
Sardo Molmenti,    ’13-‘15           Arizona PhD ’13;           Diet, obesity,      Assistant
Christine                            Minnesota MPH ’94;         chemoprevention,    Professor of
                                     Ohio State BA ‘92          colorectal cancer   Public Health,
                                                                                    Hofstra
Kahn, Justine      ’15-              Mt. Sinai MD ’10;          Pediatric cancer    Instructor in
                                     Barnard BA ‘05             and adherence,      Pediatric
                                                                SES                 Oncology
Leng, Siyang       ’16-              SUNY Downstate MD          Health outcomes     Instructor in
                                     ’09; Cornell BS ‘05        for myeloma and     Medical Oncology
                                                                plasma cell
                                                                dyscrasias
Joffe, Lenat       ’16-              Sackler MD ’10; NYU        Outcomes            Pediatric
                                     BA ‘06                     research in         oncology fellow
                                                                pediatric
                                                                oncology
Kwon, Sung         ’16-              Washington MPH ’11;        Outcomes            Postdoctoral
(Steve)                              Illinois MD ’07;           research in         fellow
                                     Illinois BS ‘03            surgical oncology   Epidemiology
O’Neil, Daniel     ’17-              Harvard MPH ’16;           Outcomes and        Medical Oncology
                                     Einstein MD ’12;           global research     Fellow
                                     Cornell BS ‘06

          Mentor For Career Development
          Victor R. Grann, M.D., M.P.H. - ACS Career Development Award - 1999-2004
          Mary Beth Terry, Ph.D., K07 - 2001-2006
          Dawn L. Hershman, M.D., M.S. - K07 - 2002-2007
          Andrew Rundle, Ph.D. - K07 - 2003-2008
          Donna Shelley, M.D., M.P.H. - K01 CDC 2005-2008
          Benjamin Spencer, M.D., M.P.H. - DoD Physician Research Training Award - 2006-2011
          Michael AJ. Hall, M.D., M.H.S. - ACS Career Development Award - 2007-2012
          Abby Siegel, M.D. - K12 2008-2011, K23- 2010-2015
          Heather Greenlee, N.D., Ph.D. - K12 - 2008-2011, K23 – 2009 – 2014 (Co-Mentor)
          Katherine Crew, M.D., M.S. - ACS Career Development Award - 2008-2013 (Co-Mentor)
          Julian A. Abrams, M.D., M.S. - FAMRI Career Development Award - 2008-2011;K07-2008-2013
          Rose Lai, M.D., M.Sc. – K07 – 2008-2013
                                                 14
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           Daniel Becker, M.D. – ASCO Young Investigator Award – 2010-2011
           Fay Kastrinos, M.D., M.P.H. –K07 – 2010-2015
           Rachel Shelton, Ph.D. – KL2 – 2012-2014; ACS Career Development Award – 2013-2018
           Benjamin Lebwohl, M.D., M.S.-KL2 - 2011-2013; AGA Research Scholar Award 2014-2017
           Paul E. Oberstein, M.D. – ASCO Young Investigator Award, 2013-2014
           Elena Ladas, Ph.D.- ACS Career Development Award 2015-2019
           Pamela Valera, Ph.D. – K22 – 2015-2018
           Daniel Freedberg, MD – KL2 – 2015-2017 (Co-mentor)

OTHER PROFESSIONAL ACTIVITIES:
Editorial Boards
      Editorial Advisory Board, Cancer Epidemiology, Biomarkers, and Prevention,1990-1998; Associate Editor,
      1998-2006.
      Editorial Board, Integrative Cancer Therapies, 2002-Present.
      Editorial Board, Journal of Clinical Oncology, 2004-2006.
      Editorial Board, Section Chief for Epidemiology and Prevention, Cancer Investigation, 2005-.

Manuscript Reviewer
   American Journal of Epidemiology, American Journal of Gastroenterology, American Journal of Medicine,
   American Journal of Public Health, Anti-Cancer Drugs, BMJ, Breast Cancer Research, Breast Cancer
   Research and Treatment, British Journal of Cancer, Cancer, Cancer Causes and Control, Cancer Control,
   Cancer Epidemiology Biomarkers and Prevention, Cancer Investigation, Cancer Medicine, Cancer Research,
   Chronic Diseases in Canada, Clinical Cancer Research, Clinical Gastroenterology and Hepatology, Consultant,
   Digestion, Digestive Diseases and Sciences, Diseases of the Colon and Rectum, Epidemiologic Reviews,
   Epidemiology, European Journal of Cancer, European Journal of Epidemiology, Gastroenterology,
   Gastrointestinal Endoscopy, Gut, Integrative Cancer Therapies, International Journal of Cancer, International
   Journal of Epidemiology, International Journal of Radiation Oncology Biology and Physics, Italian Journal of
   Gastroenterology and Hepatology, Journal of the American Geriatrics Society, Journal of the American
   Medical Association, JAMA Oncology, Journal of Cancer Epidemiology, Journal of Cancer Survivorship,
   Journal of Chronic Disease, Journal of Clinical Oncology, Journal of Global Oncology, Journal of Laboratory
   and Clinical Medicine, Journal of the National Cancer Institute, Journal of Occupational Medicine, Journal of
   Oncology Practice, Journal of Urban Health, Lancet Oncology, Nature Reviews Clinical Oncology, New
   England Journal of Medicine, New York State Journal of Medicine, Nutrition and Cancer, Oncology
   (Switzerland), Oncotarget, PLOS One, Seminars in Oncology, Southern Medical Journal, Supportive Care in
   Cancer, Surgical Endoscopy, The Oncologist, Therapeutic Advances in Gastroenterology

Committees
    Federal
         NCI, National Occupational Cancer Control Clinical Network, 1984-1985.
         Office of Technology Assessment, U.S. Congress, paper reviewer, 1993-1994.
         NCI, Board of Scientific Advisors, ad hoc Cancer Control Program Review Group, 1996-1997.
         FDA, Center for Devices and Radiological Health, Orthopedic and Rehabilitation Devices Panel, adhoc
         Orthopedics Spinal Device Panel, July 2010.
         NCORP Minority/Underserved site representative to the NCI Cancer Care Delivery Research Steering
         Committee. 2015-

      State/Local
           New York City Department of Environmental Protection, Citizens Advisory
             Committee of the Greenpoint/Williamsburg Environmental Benefits Program,
             advisor to Health Subcommittee, 1994-1995.
           New York State Department of Health, Commissioner's Expert Advisory Panel on

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           Cancer Screening Guidelines, 1994-1995.
         New York State Comprehensive Cancer Control Data and Surveillance Goal
           Development team, 2002-2003.
         New York City Department of Health and Mental Hygiene, Citywide Colorectal Cancer
           Control Coalition, Co-Chair of Research Committee, 2003-.

     Study Sections
         NCI, Special Review Committee for Yale CPRU, August 1988.
         NCI, Special Review Committee for Chemoprevention Trials RFA, March 1989.
         NCI, Ad Hoc Contracts Technical Review Group for SEER, June, 1989.
         NCI, Special Review Committee for Program Project Grant, February 1990.
         ACS, Scientific Advisory Committee on Clinical and Cancer Control Investigations I - Epidemiology,
             Diagnosis and Therapy, 1992.
         National Cancer Institute, Site Visit Team for New York University Program Project Grant, May 1994.
         National Cancer Institute, Site Visit Team for Wake Forest Cancer Center, October 1994.
         National Cancer Institute, Special Emphasis Panel, Nutrition Study Section, October 1994.
         National Cancer Institute, Special Review Committee for RFA 95-CA-004 on Breast
             Cancer Surveillance, July 1995.
         National Cancer Institute, Special Review Committee for RFA 95-CA-18 on Cancer Prevention
             Research Units, March 1996.
         National Cancer Institute, Site Visit Team for UCLA Program Project Grant,
            February 1997.
         National Cancer Institute, Ad Hoc Member of Epidemiology and Disease Control-2
            Study Section, June 1997.
         National Cancer Institute, Special Review Committee for RFA 97-CA-004 on Cancer G Genetics
            Networks, January 1998.
         National Cancer Institute, Ad hoc member of Scientific Review Committee E, July 1998.
         California Cancer Research Program, member of Biomedical Study Section,
            October 1998.
         Middle East Cancer Consortium Small Grants Program, reviewer,
            January - February 1999.
         National Cancer Institute, Ad hoc member of Scientific Review Group E, April 1999,
             December 1999.
         National Cancer Institute, Cancer Genetics Network Pilot Projects Review
             Team, Chair, May 1999.
         California Cancer Research Program, member of Epidemiology Study Section,
             February 2000.
         National Cancer Institute, Site Visit Team for Norris Comprehensive Cancer Center, University of
             Southern California, June 2000.
         National Cancer Institute, Ad hoc member of Scientific Review Group SNEM-3, August 2000.
         National Cancer Institute, Ad hoc member of Scientific Review Group SNEM-2, November 2000.
         National Cancer Institute, Special Emphasis Panel for SNEM-1, Chair, April 2001.
         California Cancer Research Program, member of Epidemiology Study Section, January 2002.
         National Cancer Institute, Special Emphasis Panel for SNEM-5, Member, March 2002.
         National Cancer Institute, Special Emphasis Panel for SNEM-4 Member, April 2002.
         National Cancer Institute, Member of Epidemiology and Disease Control-2 Study Section,
             July 2002-June 2006.
         National Cancer Institute, Site Visit Team for Norris Comprehensive Cancer Center, University of
             Southern California, May 2005.



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         American Cancer Society, Member of Cancer Control and Prevention Peer Review Committee in
            Psychosocial and Behavioral Research, January 2006-December 2010.
         National Cancer Institute, Site Visit Team for Yale University Cancer Center, October 2006.
         National Cancer Institute, Member of Special Emphasis Panel for PAR 07-230, Minority Institutions/
            Cancer Center Initiatives, June 2007.
         National Cancer Institute, Member of Special Emphasis Panel/Scientific Review Group 2009/10 ZRG1
            PSE-J for RFA OD 09-003, Challenge grants Panel, June 2009.
         Department of Defense, Congressionally Directed Medical Research Programs, Prostate Cancer
            Reseaerch Program Peer Review, 2009-2013.
         National Cancer Institute, Member of Special Emphasis Panel for PAR Cancer Health Disparities ZRG1
            OBT-Z, March 2010.
         National Institutes of Health, Member of Review Panel for Director’s Opportunity 5 Theme Hematology
            and Cardiovascular-Respiratory Sciences, (OD-10-005), June 2010.
         National Institutes of Health, Site Visit Team for Norris Comprehensive Cancer Center, University of
            Southern California, June 2010.
         National Institutes of Health, Site Visit Team for Helen Diller Family Comprehensive Cancer Center,
              University of California San Francisco, January 2012.
         National Cancer Institute, Member of Special Emphasis Panel for PAR 11-156 Cancer Health
              Disparities and Diversity in Basic Cancer Research ZRG1 OBT-A (55) R, March 2012.
         National Institutes of Health, Member of Special Emphasis Panel for PAR-10-278 Global Research
              Initiative program, AIDS and AIDS-Related Research ZRG1 AARR-K (95) S, August 2012.
         National Cancer Institute, Member of Subcommittee I – Transition to Independence, June 2014.
         National Institutes of Health, Member of Special Emphasis Panel/Scientific Review Group
              Neurological, Aging and Musculoskeletal Epidemiology Committee, Ocotber 2014.
         National Cancer Institute, Member of Special Emphasis Panel for PAR-13-081 2015/05 ZCA1
            SRB(M3)-S Bridging the Gap between Cancer Mechanism and Population Science,
            January 2015
        National Institutes of Health, Site Visit Team for Norris Comprehensive Cancer Center,
            University of Southern California, June 2015.
        National Institutes of Health, Site Visit Team for Moffitt Cancer Center, Tampa FL, May 2016.

      Private/Foundation
         Cancer and Leukemia Group B, Cancer Control Science Committee, 1987-1991.
         American Society of Preventive Oncology, Long-range Planning Committee, 1988.
         U.S.- Israel Binational Science Foundation, grant reviewer, 1989-1990.
         American Society of Preventive Oncology, Chairman, Publications Committee, 1989-1990.
         Cancer and Leukemia Group B, Epidemiology Working Group, 1989-1991.
         American Association of Cancer Institutes, Policy Advisory Committee, Centralized Cancer Patient
             Data System, 1989-1991.
         CHEMOcare, Board of Trustees, 1991-Present.
         American Association of Cancer Research representative to the LaSalle D. Leffall, Jr. Award
             Committee, 1991.
         Institute of Medicine, National Academy of Sciences, Committee for Review of the Health Effects on
             Vietnam Veterans of Exposure to Herbicides; Chairman, Cancer Subcommittee,1992-1993.
         American Society of Clinical Oncology, Cancer Prevention and Control Committee, 1994-1996.
         American Society of Preventive Oncology, Secretary-treasurer, 1994-1999.
         Member, Southwest Oncology Group, 1994-Present.
         American Gastroenterology Association, Abstract Evaluation Committee for 1995 Annual Meeting.
         American Society of Preventive Oncology, Program Planning Committee for 1996 Meeting.
         Member, Expert Panel for Prostate Cancer as a Cause of Death Project. Harlem Hospital Center, 1995.

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         American Gastroenterology Association, Abstract Evaluation Committee for 1996 Annual Meeting.
         Member, Review Committee of American Health Foundation Activities, 1995.
         American Society of Clinical Oncology, 1997 Annual Meeting Program Planning Committee.
         Center for Health Outcomes and Economics, Bristol-Myers/Squibb, Business Development Task Force,
             1996-1997.
         American Gastroenterology Association, Abstract Evaluation Committee, GI Oncology Section, 1997
             Annual Meeting.
         Member, Southwest Oncology Group Gastrointestinal Committee, 1997-Present.
         American Society of Preventive Oncology, President-Elect, 1998-1999.
         Member, Southwest Oncology Group Cancer Control Committee, 1998-Present.
         President, American Society of Preventive Oncology, 1999-2001.
         Reviewer, Doris Duke Charitable Foundation, Clinical Scientist Development Awards, 2000,
             2001, 2002.
         Past President, American Society of Preventive Oncology, 2001-2003.
         Israel Science Foundation, grant reviewer, 2001.
         Member, Medical Advisory Board, Executive Health Group, New York, 2001-Present.
         American Society of Clinical Oncology, Cancer Education Committee, Cancer
             Prevention/Epidemiology Track Team, 2003-2006.
         American Association of Cancer Research, member of 2004 Cancer Epidemiology and
             Prevention Awards Committee.
         American Association of Cancer Research, member of 2004 Clinical Research/Prevention Abstract
             Review Committee.
         External Reviewer, Institute of Medicine National Academy of Sciences, Draft report on Asbestos:
             Selected Health Effects, 2006.
         Member, Southwest Oncology Group Health Disparities & Outcomes Committee, 2009-Present.
         Member, Southwest Oncology Group Cancer Survivorship Committee, 2009-Present.
         Member, India Spreading Wellness and Prevention (SWAP) Advisory Board, Ortho-Clinical
             Diagnostics, 2009.
         American Society of Clinical Oncology, Test Materials Development Committee for National Medical
             Oncology In-Training Examintation, 2009-2011.
         Member, Advisory Board, Mouse Models of Human Cancers Consortium, HICCC, 2009-2014.
         Reviewer, U.S. – Israel Binational Science Foundation, 2010.
         Member, Medullary Thyroid Carcinoma Registry Consortium-Registry Data Monitoring Committee,
             2014-
         Member, Otsuka Pharmaceuticals Global Pharmacovigilance Advisory Committee, 2015-
         Member, Pfizer Data Generation Advisory Board, 2015-
         Grant reviewer, Dutch Cancer Society, 2016.
         American Society of Preventive Oncology, 2017 Annual Meeting Program Planning Committee
             Member
         American Society of Preventive Oncology, 2018 Annual Meeting Program Planning Committee
             Member

     International
          International Agency for Research on Cancer, Working Group on the International Study of Potential
               Cancer Risk in Cancer Research Laboratory Workers, 1987-1990.
          Cancer Research Campaign, Clinical Trials Committee, grant reviewer, May 2000.
         Dutch Cancer Society, grant reviewer, August 2004.
         Cancer Research UK, Program Grant Reviewer, September 2009.
         Prostate Cancer Foundation of Australia, grant reviewer, September 2009


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         Guest lecturer, Cancer Epidemiology. French School of Public Health (Ecole Hautes d’Etudes
             Sante Publique), Paris France, November 2009, 2010, 2011, 2012, 2013
         Member, African Organization for Research and Training in Cancer, 2010 – present.
         Chair, Track Committee for Cancer Care and Survivorship, UICC World Cancer Congress,
         Montreal Canada, August 2012
         French National Cancer Institute, Hospital Clinical Research program 2012, grant reviewer,
         February 2012
         Karolinska Institutet, Department of Medical Epidemiology and Biostatistics, external reviewer for
         faculty selection committee, November 2013.
         Workshop on Cancer Epidemiology, Nelson R. Mandela School of Medicine, University of
         KwaZuluNatal, Durban, South Africa, November 2013

     Other
         External Consultant, Ohio State University Comprehensive Cancer Center, Columbus,
           Ohio, October 1999.
         Member, Data Safety Monitoring Board: Randomized Double-Blind, Placebo-Controlled Study
           of the Efficacy and Safety of Celecoxib in the Prevention of Colorectal Sporadic
           Adenomatous Polyps (PreSAP), Pfizer, 2001-2006.
         Consultant to the United Nations Compensation Commission on the Persian Gulf War, Industrial
           Economics Inc, 2003-2004.
         Consultant, Safety and Development of ETC-216, Pfizer, 2004.
         Member, Program Steering Committee, U56 Partnership between University of Massachusetts-Boston
           and Dana-Farber/Harvard Cancer Center, 2006-.
         External Advisor, R25T Cancer Copntrol Reseasrch Postdoctoral Training Program, Cancer Research
            Center of Hawaii, University of Hawaii, 2006-2009.
         Member, Advisory Group on Bisphosphonates-Associated Osteonecrosis of the Jaw, American
            Association of Oral and Maxillofacial Surgeons, 2006-2008.
         Member, Program Steering Committee, U56 Partnership between University of the District of Columbia
            and Lombardi Comprehensive Cancer Center, 2007-.
         Member, External Scientific Advisory Committee, Lombardi Comprehensive Cancer Center,
            Georgetown University Medical Center, 2008-.
         Member, Scientific Advisory Committee, Population Science Research Program, NYU Langone
             Medical Center, New York, July 2010.
         Member, Mock Site Visit Team, UAB Comprehensive Cancer Center, Birmingham AL, September
             2010.
         Member, External Advisory Board, Center of Excellence in Disparities Research and Community
             Engagement (CEDREC), Weill Cornell Medical College, 2010-.
         Member, External Advisory Committee, University of Kansas Cancer Center, University of Kansas,
             2011-
         Consultant, Population Sciences Programs, Moores Cancer Center, University of California San Diego,
             February 2013.
         Member, External Review Committee, Graduate Programs in Epidemiology and Biostatistics, Perelman
             School of Medicine, University of Pennsylvania, Philadelphia PA, April 2013.
         Consultant, Population Sciences Programs, University of Maryland Greenbaum Cancer Center, MD,
             2014-
         Honorary Police Surgeon, New York Police Department, New York NY, 2015-
         Consultant, Cancer Prevention and Control Program, Wake Forest Baptist Comprehensive Cancer
         Center, November 2015, February 2016 mock site visit.



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PUBLICATIONS:
Peer-Reviewed
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       22:395-398, 2004.

633.   Neugut AI. Preventive oncology – lessons from preventive cardiology. Lancet 363:1004-1005, 2004.

634.   Neugut AI. Hospital information systems and clinical cancer research. Cancer Invest 22:326-327, 2004.

635.   Neugut AI, Grann VR. Waiting time for prostate cancer. JAMA 291:2757-2758, 2004.

636.   Hall MJ, Neugut AI. Only women with specific family histories should be referred for counseling or
       evaluation for BRCA breast and ovarian cancer susceptibility testing. ACP J Club 144 (Mar-April):3;
       2006.

637.   Neugut AI, Jacobson JS. Women and lung cancer: gender equality at a crossroad? JAMA 296:218-219,
       2006.

638.   Neugut AI, Lebwohl B, Hershman DL. Cancer chemoprevention: How do we know what works? J Clin
       Oncol 25:1461-1462, 2007.

639.   Abrams JA, Terry MB, Neugut AI. Cigarette smoking and colorectal neoplasia. Gastroenterology
       134:617-619, 2008.

640.   Lebwohl B, Neugut AI. Review: NSAIDs and COX-2 inhibitors may prevent colorectal cancer but
       increase gastrointestinal and cardiovascular harm, ACP J Club 2007 July-Aug 147:16.

641.   Hershman DL, Neugut AI. Anthracycline cariotoxicity: One size does not fit all! J Natl Cancer Inst
       100:1046-1047, 2008.



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642.   Neugut AI. Aspirin and colorectal cancer survival. JAMA, 302:688-689, 2009.

643.   Neugut AI, Accordino MK. CT screening for lung cancer reduced mortality in 1 large trial but not in 2
       smaller trials. Ann Int Med 157:JC3-JC6, 2012.

644.   Lebwohl B, Neugut AI. Post-colonoscopy recommendations after inadequate bowel preparation: All in the
       timing. Dig Dis Sci 58:2135-2137, 2013.

645.   Mandelblatt JS, Sheppard VB, Neugut AI. Black-white differences in breast cancer outcomes among older
       Medicare beneficiaries: does treatment matter? JAMA 310:376-377, 2013.

646.   Neugut AI. Aspirin as adjuvant therapy for stage III colon cancer: standard of care? JAMA Int Med
       174:739-741, 2014.

647.   Hillyer GC, Neugut AI. Where does it FIT? The roles of fecal testing and colonoscopy in colorectal cancer
       screening. Cancer 121:3186-3189, 2015.

648.   Neugut AI, Gelmann EP. Treatment to the prostate in the presence of metastases: lessons from other solid
       tumours. Eur Urol 69:795-796, 2016.

649.   Neugut AI, Gross CP. Targeting the cancer moonshot. JAMA Oncol 2:421-422, 2016.

650.   Neugut AI. Coffee and colorectal cancer risk. HemOnc Today 2016.

651.   Newcomb PA, Hsing AB, Bondy ML, Neugut AI. The history of a name: the American Society for
       Preventive Oncology renames its highest honor the “Joseph F. Fraumeni, Jr., ASPO Distinguished
       Achievement Award”. Cancer Epidemiol Biomarkers Prev 26:431-432, 2017.

652.   Neugut AI, Lebwohl B. Choosing how to screen for colorectal cancer. Sem Oncol 44:45-46, 2017..

Books
1.    Committee to Review the Health Effects in Vietnam Veterans of Exposure to Herbicides. Veterans and
      Agent Orange: Health Effects of Herbicides Used in Vietnam. National Academy Press, Washington, DC,
      1994.

2.     Neugut AI, Meadows AT, Robinson E (eds). Multiple Primary Cancers. Lippincott Williams & Wilkins,
       Philadelphia, 1999.

Letters:
1.       Neugut AI: Aminoglutethimide vs. surgical adrenalectomy in breast cancer. New Engl J Med
         306:44-45, 1982.

2.     Neugut AI: Epidemiology of T-cell leukemia/lymphoma. Lancet 2:557-558, 1982.

3.     Neugut AI: Detecting colon cancer. Science 229:1186, 1985.

4.     Neugut AI, Johnsen CM, Fink DJ: Colon cancer, colon polyps, and cholesterol. Gastroenterology
       91:255-256, 1986.




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5.    Neugut AI: Relation between the frequency of colorectal adenoma and the serum cholesterol level.
      N Engl J Med 317:55-56, 1987.

6.    Neugut AI: Screening for colorectal cancer. Ann Int Med 113:899-900, 1990.

7.    Garfield RM, Neugut AI: Epidemiologic analysis of warfare. JAMA 266:3281, 1991.

8.    Neugut AI, Garbowski GC. Re: Asbestos exposure. J Natl Cancer Inst 84:538, 1992.

9.    Neugut AI. Gastrointestinal endoscopy. N Engl J Med 326:956, 1992.

10.   Neugut AI. Does smoking cause suicide? Cancer J 6:102, 1993.

11.   Neugut AI, Jacobson JS. Which colonic adenomas become malignant? Ann Int Med 119:250-251,
      1993.

12.   Neugut AI, Garbowski GC. Diet and colorectal adenomatous polyps. Ann Int Med 119:343, 1993.

13.   Neugut AI. Dietary risk factors and colorectal polyps: apparently gender does make a difference.
      Gastroenterology 105:949, 1993.

14.   Neugut AI, Jacobson JS. Screening for colorectal cancer. N Engl J Med 329:1352, 1993.

15.   Neugut AI. Lung cancer after radiation therapy for breast cancer: Reply. Cancer 72:3369, 1993.

16.   Neugut AI. Re: The diagnostic yield of colorectal neoplasia with the use of colonoscopy. Am J
      Gastroenterol 89:1600, 1994.

17.   Jacobson JS, Neugut AI. Re: Interpreting precursor studies: what trials tell about us about large-
      bowel cancer. J Natl Cancer Inst 86:1648, 1994.

18.   Robinson E, Neugut AI. Second primary tumors in patients with head and neck squamous cell
      carcinoma. Cancer 76:1684, 1995.

19.   Neugut AI. Re: "Tobacco, alcohol, and colorectal tumors: a multi step process." Am J Epidemiol
      142:1345, 1995.

20.   Neugut AI. Funerals. J Clin Oncol 14:2887-88, 1996.

21.   Grann VR, Jacobson JS, Neugut AI. Re: The genetic passport. Am J Epidemiol 149:198, 1999.

22.   Terry MB, Neugut AI. Re: “Cigarette smoking and the colorectal adenoma-carcinoma sequence: a
      hypothesis to explore the paradox: The authors reply.” Am J Epidemiol 149:788, 1999.

23.   Terry MB, Neugut AI. RE: Cigarette smoking and the colorectal adenoma-carcinoma sequence: A
      hypothesis to explain the paradox: The authors reply. Am J Epidemiol 150:542-543, 1999.

24.   Grann VR, Whang W, Jacobson JS, Heitjan DF, Antman KH, Neugut AI. Re-evaluation of
      benefits of BRCA1/2 testing. J Clin Oncol 17:1962, 1999.



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25.    Muscat JE, Stellman SD, Malkin MG, Thompson S, Shore RE, Neugut AI. Handheld cellular
       telephones and brain cancer risk. JAMA 285:1838-1839, 2001.

26.    Fogel J, Albert SM, Schnabel F, Ditkoff BA, Neugut AI. Quality of health information on
       the internet. JAMA 286:2093-2094, 2001.

27.    Gatto NM, Frucht H, Neugut AI. Response: Re: Risk of perforation after colonoscopy and
       sigmoidoscopy: a population-based study. J Natl Cancer Inst 95:831, 2003.

28.    Terry MB, Gammon M, Neugut AI. Association of aspirin use and hormone receptor status with
       breast cancer risk-Reply. JAMA 292:1427, 2004.

29.    Hershman D, Neugut AI. Author reply. Cancer 109:2384, 2007.

30.    Rundle A, Richards C, Neugut AI. Hemodilution of prostate specific antigen levels among obese
       men. Author reply. Cancer Epidemiol Biomarkers Prev 18:2343-2344, 2009.

31.    Neugut AI, Lebwohl B. Screening colonoscopy vs flexible sigmoidoscopy – reply. JAMA
       304P:2017-2018, 2010.

32.    Sonabend AM, Zacharia BE, Golstein H, Bruce SS, Hershman D, Neugut AI, Bruce JN. Response.
       J Neurosurg 120:298-299, 2014.

33.    Prigerson HG, Neugut AI, Maciejewski PK. Evaluating chemotherapy at the end of life – reply.
       JAMA Oncol 2:144, 2016.

INVITED PRESENTATIONS:
 1.   Discussant, Symposium on Biological Markers in Colorectal Cancer. Twelfth Meeting of the
      American Society of Preventive Oncology, Bethesda, MD, March 1988.
 2.   Discussant, plenary paper: Kritchevsky SB, and Wilcosky TC. Lipid, lipoprotein cholesterol, and
      weight change preceding the diagnosis of cancer in the Lipid Research Clinics Coronary Primary
      Prevention Trial. 22nd Annual Meeting of the Society for Epidemiologic Research, Birmingham,
      AL, June 1989.
 3.   Use of endoscopic screening for individuals at average risk for colorectal cancer. Workshop on
      Colon Cancer Screening for Average-Risk Populations. Second International Conference on
      Gastrointestinal Cancer, Jerusalem, Israel, August 1989.
 4.   Natural history and management of colonic polyps. Update in Gastroenterology and Hepatology,
      Columbia University College of Physicians & Surgeons, New York, NY, December 1991.
 5.   Epidemiologic perspective on war related casualties. 5th Annual Acute Combat Trauma
      Symposium, Norfolk, VA, June 1992.
 6.   Colorectal cancer. NCI Cancer Prevention and Control Academic Course, Rockville, MD, July
      1992.
 7.   Basic epidemiology. Maxwell Abramson Otolaryngology Basic Science Course, New York
      Academy of Medicine, New York, NY, October 1992.
 8.   Association of fat with the incidence and recurrence of colorectal adenomas and a proposed
      mechanism for its role. Ole Moller Jensen Memorial Symposium on Nutrition and Cancer, IARC,
      Lyon, France, March 1993.
 9.   Controversies in colon cancer prevention. ACS Symposium on Cancer Prevention and Early
      Detection: Practice Perspectives, Controversies and Future Directions, New York, NY September
      1993.


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10.   Cancer screening, stage, and impact on survival. Third Annual Cancer Symposium for Physicians,
      Crozer Regional Cancer Center, Upland, PA, October 1993.
11.   Sigmoidoscopy and colonoscopy: What you see is what you get. 20th Anniversary Conference on
      Prevention and Early Detection of Cancer: Controversy & Progress, University of Wisconsin
      Comprehensive Cancer Center, Madison, WI, October 1993.
12.   Can what you eat cause colon cancer? Cancer Initiative Conference Series: Causation and
      Prevention of Cancer, Columbia-Presbyterian Medical Center, New York, NY, October 1993.
13.   Discussant, human epidemiology. Workshop on Non- Steroidal Anti-Inflammatory Agents and
      Cancer, American Health Foundation, New York, NY, October 1993.
14.   Breast cancer screening for women under 50. Commission on Women's Health, Commonwealth
      Fund, New York, NY, March 1994.
15.   Panel member, Controversies and concerns about cancer screening. Inaugural Conference of
      Industries' Coalition against Cancer, Washington, DC, April 1994.
16.   Participant, Organochlorines and Cancer Workshop, Cancer Division of Health Canada, Ottawa,
      Ontario, September 1995.
17.   Participant, Round Table on New and Emerging Technologies for the Detection and Treatment of
      Breast Cancer, New York State Legislative Commission on Science and Technology, Copiague
      NY, November 1995.
18.   Participant, Workshop on Changing Mortality Rates of Tobacco-Related Diseases, American
      Health Foundation, New York, NY, April 1996.
19.   Participant, Conference of NIA/NCI Working Group on Multiple Primary Cancers in Older-Aged
      Cancer Patients, National Institutes of Health, Bethesda, MD, June 1996.
20.   The epidemiology of second malignancies. Moderator, Life after Cancer. Second Annual Cancer
      Information Exchange, Columbus CCOP, Amelia Island, Florida, February 1997.
21.   Epidemiologic issues in mass tort litigation. New York Law School, New York, NY February
      1997.
22.   Discussant; Health Services Research/Prevention, 16th Annual Meeting of the American Society of
      Clinical Oncology, Denver Colorado, May 1997.
23.   Participant, Banbury Center Conference on the Pathogenesis of NF1 and NF2- Therapuetic
      Strategies, Cold Spring Harbor NY, July 1997.
24.   Participant, Conference on Practice Outcomes Monitoring and Evaluation System (POMES),
      Office of Alternative Medicine, Bethesda MD, August 1997.
25.   Who is interested in pharmacoeconomics in Oncology? Guidelines for the Application of
      Pharmacoeconomic Research to Clinical Practice in Oncology: Consensus Conference. New York
      NY, October 1997.
26.   Keynote speaker, Tumors of the small intestine. Israel Gastroenterology Association, Herzliya,
      Israel, June 1998.
27.   Recurrence of adenomatous polyps. Medical Grand Rounds, Ichilov Hospital, Tel Aviv, Israel, June
      1998.
28.   Genetics of colon cancer. Regional Postgraduate Course, American College of Gastroenterology,
      New York NY, June 1998.
29.   Epidemiology of pancreatic cancer. Pancreatic Cancer: Recent advances in staging and treatment.
      Memorial Sloan-Kettering Cancer Center, New York, NY, November 1998.
30.   Ten dos and don’ts for success in a career in preventive oncology. Keynote speaker, Annual
      Meeting NCI R25/K07 Awardee, Bethesda, MD, March 2000.
31.   Why is small bowel cancer so rare? Israeli-Palestinian Conference on Gastrointestinal Cancer,
      Palestine Council of Health/Israeli Gastroenterology Association/Middle East Cancer Corsortium,
      Ramallah, April 2000.




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32.   Colon cancer: Genetic (family) risk and the importance of early screening. Rudin Lectures for the
      Public on Cancer Prevention and Treatment, New York Academy of Medicine, New York, NY,
      June 2000.
33.   Participant, Pancreatic Cancer Progress Review Group, National Cancer Institute, Chantilly, VA,
      September 2000.
34.   Current status of colorectal cancer screening. Surgery Grand Rounds, St. Vincent’s Hospital,
      Bridgeport, CT, November, 2000.
35.   Use of large administrative databases for answering questions in cancer etiology and treatment.
      Faculty Research Seminar, Department of Medicine, Columbia-Presbyterian Medical Center, New
      York NY, February, 2001.
36.   AGG - An economic model for resource allocation in cancer research and preventive oncology.
      Keynote Presidential Address. 25th Annual Meeting of the American Society of Preventive
      Oncology, New York, NY, March, 2001.
37.   An update on colorectal cancer prevention and screening. American Cancer Society Primary Care
      Physician Educational Dinner, New York, NY, March 2001.
38.   Use of tumor registry data for human cancer epidemiology research. Keynote Address, Companion
      Animal Tumor Registry Workshop, New York, April 2001.
39.   Use of large data sets in cancer research. Team Rounds, Department of Medicine, Columbia
      Presbyterian Medical Center, New York, May 2001.
40.   Participant, Workshop on Exploring the Role of Cancer Centers for Integration of Aging and
      Cancer Research, National Institute on Aging/National Cancer Institute, Bethesda, Maryland, June
      2001.
41.   Cancer Screening. Medicine Grand Rounds, Mercy Medical Center, Rockville Centre, New York,
      November 2001.
42.   Use of large data sets for cancer research. Epithelial Carcinogenesis Seminar Series, Strang Cancer
      Prevention Center, New York, NY, November 2001.
43.   Using large-scale databases for policy making in cancer prevention. Ruttenberg Cancer Center, Mt.
      Sinai School of Medicine, New York, NY, December 2001.
44.   Risk factors for colorectal neoplasia. International Meeting: GI Maligancies can be Presented and
      Treated from the Bench to the Bedside. Dead Sea, Israel, January 2002.
45.   What can second malignancies teach us about etiology of GI tract cancers? Dead Sea, Israel,
      January 2002.
46.   Cancer epidemiology in humans: Overview and lessons for veterinarians. Keynote Address, 22nd
      Annual Conference of the Veterinary Cancer Society, New York, September 2002.
47.   Who gets brain tumors and why. Brain Tumor Awareness Day. New York, November 2002. Use
      of large datasets in cancer research. Research Methodology Conference, Division of General
      Internal Medicine, Weill Cornell School of Medicine, New York, March 2003.
48.   The Long Island Breast Cancer Study Project: Where do we go from here? Annual Advocacy
      Training Conference, National Breast Cancer Coalition Fund, Washington, DC, May 2003.
49.   Increasing your awareness and reducing your cancer risk. Cancer Prevention Seminar, Weill
      Cornell Medical Center, New York, May 2003.
50.   Screening for breast and prostate cancer. First Annual Dr. Paul A. Marks Oncology Symposium,
      New Milford, CT, May 2003.
51.   Epidemiology and Screening for colorectal cancer. Northeast Regional Caner Institute, University
      of Scranton, Scranton, PA, June 2003.
52.   Lessons from second malignancies about the etiology of GI tract cancer. Grand Rounds, Division
      of Gastroenterology, Weill Cornell Medical Center, New York, September 2003.
53.   Epidemiology of malignant esophageal disease. Westchester Esophageal Disease Symposium,
      West Point NY, November 2003.



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54.   Use of large datasets in cancer research. Department of Epidemiology and Social Medicine, Albert
      Einstein College of Medicine, Bronx, NY, December 2003.
55.   Update on Long Island Breast Cancer Study. Grand Rounds, Department of Medicine, Winthrope
      University Hospital, Mineola, NY, February 2004.
56.   Second malignancies in the etiology of GI tract cancers. Frontiers in Gastroenterology and
      Hepatology, Division of Gastroenterology, Case Western Reserve University, School of Medicine,
      Cleveland, Ohio, April 2004.
57.   Participant, New Jersey Governor’s Conference on Effective Partnering in Cancer Research 2004:
      Cancer Prevention. Cancer Institute of New Jersey, Jersey City, NJ, May 2004.
58.   Second cancers among long-term survivors of cancer. Education session on Problems Unique to
      Long-Term Survivors of Cancer, 40th Annual Meeting of American Society of Clinical Oncology,
      New Orleans LA, June 2004.
59.   Co-Chair, Cancer Prevention Categorial Course: When Does a “Positive” Prevention Trial Result
      in Changes in Practice? 40th Annual Meeting of the American Society of Clinical Oncology, New
      Orleans LA, June 2004.
60.   Adjuvant therapy for colorectal cancer: efficacy and problems. Second Annual Geriatric Oncology
      Consortium, Washington DC, September 2004.
61.   Lung cancer and NSAIDs. Ibuprofen and Cancer Prevention Roundtable: Exploring the spectrum
      of Evidence. Wyeth Consumer Products. New York, NY, September 2004.
62.   Use of epidemiologic methods to study cancer prevention and treatment. Advances in translational
      treatment, Columbia University Medical Center and Science office of the Embassy of Italy, New
      York, October 2004.
63.   Hereditary colon cancer syndromes. Community conference on Jewish genetic diseases, Holy
      Name Hospital, Teaneck NJ, November 2004.
64.   Racial disparities in adjuvant therapy for breast cancer. Division of Oncology, University of
      Chicago, Chicago IL, April 2005
65.   Use of epidemiologic methods to study issues in oncology, NYU Cancer Institute Seminar, NYU
      Medical Center, May 2005.
66.   Epidemiology of pancreatic cancer. Pancreas Cancer 2005: State of the Art. Scientific Conference
      of the Lustgarten Foundation for Pancreatic Cancer Research, Memorial Sloan-Kettering Cancer
      Center, New York, NY June 2005.
67.   Epidemiology and screening. Evolving strategies in Prostate Cancer. NYPH, New York NY,
      September 2005.
68.   Racial disparities in cancer treatment. Department of Medicine Grand Rounds, UMDNJ-New
      Jersey Medical School, Newark, NJ, March 2006.
69.   Cancer screening. Mednick-Geller Memorial Lecture, Medicine Grand Rounds, South Nassau
      Communities Hospital, Oceanside NY, April 2006.
70.   NSAIDS and breast and ovarian cancer. The Emerging Role of Screening and Prevention in
      Women’s Cancers, NYU School of Medicine, New York, NY, May 2006.
71.   Reducing the burden of colon cancer incidence and mortality: epidemiologic approaches. Keynote
      address: Third Annual MD/Ph.D. Student Research Symposium, Columbia University College of
      Physicians and Surgeons, New York NY, November 2006.
72.   Chair, Symposium on Small bowel tumours: New Approaches in Management. 15th United
      European Gastroenterology Week, Paris France, October 2007.
73.   Small bowel adenocarcinoma: an update. Symposium on Small Bowel Tumours: New Approaches
      in Management. 15th Annual European Gastroenterology Week, Paris France, October 2007.
74.   Decline of colorectal cancer incidence and mortality. Department of Medicine Team Rounds,
      Columbia.University College of Physicians and Surgeons, New York NY, February 2009.
75.   Quality of Care in Cancer Treatment. Department of Medicine Grand Roungs, Mary Imogene
      Bassette Hospital, Cooperstown NY, December 2009.


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76.   Preparation of a K award. Workshop on Career development for Junior Faculty, Junior
      Researchers, and Trainees. 33rd Annual Meeting of the American Society of Preventive Oncology,
      Tampa FL, March 2009.
77.   Cancer Screening 2009. Medical Grand Rounds, New York Downtown Hospital, New York NY,
      March 2009.
78.   Cancer Prevention in Primary Care. Cancer Control Series, Northeast Georgia Health System,
      Gainesville GA, March 2009.
79.   A tribute to the Accomplishments of I.Bernard Weinstein. Advances in Cancer Research – A
      Tribute to the Scientific Accomplishments of I. Bernard Weinstein, Herbert Irving Comprehensice
      Cancer Center, Columbia University Medical Center, New York, NY, May 2009.
80.   Quality of Care in Cancer Treatment. Oncology Grand Rounds, Lombardi Comprehensive Cancer
      Center, Georgetown University Medical Center, Washington DC, July 2009.
81.   Colon cancer screening. Gastroenterology and Hepatology Update. Pri-Med New York 2009,
      Jacob Javits Convention Center, New York NY. August 2009.
82.   Moderator, Session on Whole Soy and Breast Cancer. Soy Summit: Exploration of the Health,
      Safety and Nutrition of Whole Soy, Columbia University Institute of Hunman Nutrition, New York
      NY, September 2009.
83.   Adherence to cancer therapy-new directions. 2009 Herbert Irving Comprehensive Cancer Center
      Annual Retreat, Riverdale NY, October 2009.
84.   Colon cancer chemotherapy. GI grand rounds, Columbia University, New York NY, October
      2009.
85.   Getting ahead of the curve through early detection. 8th Annual Brain Tumor Awareness Day
      Conference, Brain Tumor Foundation, New York NY, November 2009.
86.   Medication adherence in cancer treatment. Medicine Grand Rounds, King Edward VIII Hospital.
      Nelson R. Mandela School of Medicine, University of KwaZuluNatal, Durban, South Africa.
      January 2010.
87.   Strengthening your role as an “individual contributor” as you participate in team science.
      Twentieth Annual Special Session, NCI-funded Cancer Prevention and Control Fellows Workshop.
      Bethesda MD, March 2010.
88.   Alcohol and cancer. Alcohol and Health Workshop, SABMiller Corporation, London UK, May
      2010.
89.   Mammography screening: Why it should begin at age 50. New York Cancer Society, New York
      NY, November 2010.
90.   Clinical vs Public Health Perspectives in Medical Decisions: Cancer Screening. Department of
      Pathology Grand Rounds, CUMC, New York NY, December 2010.
91.   Racial disparities in cancer. Black History Month, Morgan Stanley, New York NY, February 2011.
92.   Controversies in cancer screening. Department of Pathology, Faculty of Health Sciences, Wits
      Medical School, University of Witswatersrand, Johannesburg, South Africa, February 2011.
93.   Workshop in cancer epidemiology and methodology. Department of Medicine, Faculty of Health
      Sciences, Tygerberg Hospital, University of Stellenbosch Medical School, Cape Town, South
      Africa, February 2011.
94.   Cancer Epidemiology Workshop, Medical Education Partnership Initiative, Nelson R. Mandela
      School of Medicine, University of KwaZuluNatal, Durban, South Africa, March 2011.
95.   Colonoscopy vs sigmoidoscopy: Getting it right. Symposium on Cancer Screening through the
      Lifecourse – the Example of Colon Cancer. Annual Meeting of the American Society of Preventive
      Oncology, Las Vegas NV, March 2011.
96.   Utility of observational and health outcomes studies for pharmaceutical issues. Real World and
      Non-Interventional Study Preceptor Meeting, Pfizer, La Jolla CA, November 2011.




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97.    Columbia-South Africa Training Program for Research on HIV-Associated Malignancies. NCI
       Network Meeting: Research Capacity for Africa in HIV-Associated Malignancies. NIH Campus,
       Bethesda MD, January 2012.
98.    Design, conduct and impact of non-interventional studies. Real World and Non-Interventional
       Studies Training Meeting, Pfizer, New York NY, February 2012.
99.    Leading a strong cancer prevention and control program: tips for successful strategies. Annual
       Meeting of the American Society of Preventive Oncology, Washington DC, March 2012.
100.   Cancer screening. Oncology Grand Rounds. Continuum Comprehensive Cancer Center, New York
       NY, April 2012.
101.   Cancer prevention. Seyfarth & Shaw, LLP. New York NY, April 2012.
102.   Malpractice and oncology: Cases from my files, part 1. Oncology Grand Rounds, Columbia
       University Medical Center, New York NY, May 2012.
103.   Chair, Symposium on Modern Controversies in Screening. Columbia University Epidemiology
       Scientific Symposium, New York NY, May 2012.
104.   Update on colon screening. Panel discussion on molecular diagnostics, colonoscopy compliance,
       and ColonSentry. Enzo Biochem, New York NY, May 2012.
105.   Invited attendee, Cancer Research in Africa Conference, Africa Oxford Cancer
       Foundation/AORTIC/NCI/INCA, London, England, September 2012.
106.   Economics of Research in Racial Disparities. Symposium on the Economics of Addressing
       Disparities at Cancer Centers. Annual Meeting of the Association of Amercian Cancer Institutes,
       Chicago IL, October 2012.
107.   Adjuvant Therapy for Colon Cancer. Session on Colorectal Cancer. The 9th Hallym-Columbia-
       Weill Cornell-NYP International Symposium on Novel Anti-Cancer Treatment Modalities for
       Gastrointestinal Cancer. Hallym University Sacred Heart Hospital, Seoul, Korea, October 2012.
108.   Medical Malpractice: What Gastroenterologists Need to Know. Update in Gastroenterology,
       Hepatology & Nutrition, Columbia University Medical Center, New York NY, November 2012.
109.   Public Health vs. Clinical Decision-Making: Colon Cancer Screening. Grand Rounds, Department
       of Health Evidence and Policy, Icahn School of Medicine at Mount Sinai, New York NY, February
       2013.
110.   Selected cases in malpractice and lessons to be learned. GI Grand Rounds, Columbia University
       Medical Center, New York NY, September 2013.
111.   Risk Factors for Esophageal Cancer. Department of Medical Epidemiology and Bistatistics,
       Karolinska Institute, Stockholm, Sweden, October 2013.
112.   Colon Cancer Screening as a Model for Public Health Practice. Ecole des Hautes Etudes en Sante
       Publique, Paris, France, November 2013.
113.   Thoughts on new trends in the management of colon cancer. Department of Epidemiology Grand
       Rounds, Mailman School of Public Health, Columbia University, New York NY, April 2014.
114.   Cancer screening, 2014. Lesotho Medical Society, Maseru Lesotho, May 2014.
115.   Lesotho and Swaziland. HICCC Cancer Center Retreat, New York NY October 2014.
116.   Co-Host, Health Outcomes Research in an Era of Cost Containment. Part I: Observational Studies.
       Columbia University Epidemiology Scientific Symposium, Mailman School of Public Health,
       Columbia University, New York NY, February 2015.
117.   Co-Host, Health Outcomes Research in an Era of Cost Containment. Part II: Interventions.
       University of Paris Descartes – INSERM. Centre de Recherche Epidemiologie et Statistique
       Sorbonne, Paris, France, March 2015.
118.   Genetics, genomics, and cancer prevention. Session on Cancer Prevention Research: Making the
       Connection between Cancer and Key Risk Factors. New York State Cancer Prevention Summit:
       Transforming the Cancer Agenda for the Next Generation. New York NY, May 2015.




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119.   Participant, Pharmaceutical Executive Roundtable on the Rise of Pharmacoepidemiology: From
       Risk Profiling to Value Demonstration. Hosted by Pharmaceutical Executive magazine, New York
       NY, June 2015.
120.   Creating successful population science programs in a cancer center. Annual Meeting of the
       American Society of Preventive Oncology, Columbus Ohio, March 2016.
121.   Clinician vs. Population Scientist: Decision-making in Cancer. Joseph A. Fraumeni Distinguished
       Achievement Award Lecture, Annual Meeting of the American Society of Preventive Oncology,
       Columbus Ohio, March 2016.
122.   The Individual vs the Population: Decision-Making in Cancer. Public Forum – Cancer Survivors:
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Attachment B
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Attachment B:

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